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Daniels, IV, Zonie                                       January 28, 2016

                                                                         1
               IN THE UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON
                            AT SEATTLE
    TRACY JAHR, BRENDA             §
    THOMAS, TIMOTHY LEE YORK,      §
    AND W. BRETT ROARK,            §
                                   §   CIVIL ACTION
          Plaintiffs,              §   NO. 2:14-cv-01884-MJP
                                   §
    VS.                            §
                                   §
    UNITED STATES OF AMERICA,      §
                                   §
          Defendant.               §


                          ORAL DEPOSITION OF
                           ZONIE DANIELS IV
                           JANUARY 28, 2016




           ORAL DEPOSITION OF ZONIE DANIELS IV, produced
          as a witness at the instance of the Plaintiffs
          and duly sworn, was taken in the above styled and
          numbered cause on Thursday, January 28, 2016,
          from 1:43 p.m. to 4:07 p.m., before Tamara
          Chapman, CSR, RPR, CCR (LA) in and for the State
          of Texas, reported by computerized stenotype
          machine, at the of the United States Attorney's
          Office, 816 Congress, Suite 1000, Austin, Texas,
          pursuant to the Federal Rules of Civil Procedure
          and any provisions stated on the record herein.




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Daniels, IV, Zonie                                                                                                   January 28, 2016
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                     APPEARANCES                                             Exhibit 8.................................... 89
  1                                                                      1
  2
                                                                                Report to Suspend Favorable Personnel
         REPRESENTING PLAINTIFFS:
  3
          Mr. Brian C. Brook
                                                                         2
                                                                             Actions (FLAG) - Isaac Aguigui
          CLINTON BROOK & PEED                                               (JAHR0008454)
  4
          641 Lexington Avenue, 13th Floor
                                                                         3
                                                                             (Retained by Mr. Brook)
          New York, New York 10022                                       4
                                                                             Exhibit 9.................................... 102
  5
          brian@clintonbrook.com                                                Agent's Investigation Report - 2/8/12
  6
          -                                                              5
                                                                             (APCID00057 - APCID00059)
  7
          Mr. Ryan P. Bates
          BATES PLLC                                                         (Retained by Mr. Brook)
                                                                         6
  8
          3300 Harris Park Avenue
          Austin, Texas 78705                                            7
  9
          rbates@batespllc.com                                           8
                                                                                        * * *
 10
                                                                         9
                                                                                INDEX OF PREVIOUSLY MARKED EXHIBITS
 11
         REPRESENTING DEFENDANT:
          Ms. Kristin B. Johnson                                                                        Page
                                                                        10
 12
          UNITED STATES ATTORNEY'S OFFICE
          700 Stewart Street, Suite 5220                                     Exhibit 3....................................   48
 13
          Seattle, Washington 98101                                     11
          kriston.b.johnson@usdoj.gov                                   12
 14
                                                                        13
          -                                                             14
 15
                                                                        15
          Major David J. Krynicki
 16
          U.S. ARMY LEGAL SERVICES AGENCY                               16
          9275 Gunston Road                                             17
 17
          Fort Belvoir, Virginia 22060                                  18
          david.j.krynicki.mil@mail.mil                                 19
 18
 19                                                                     20
 20                                                                     21
 21                                                                     22
 22
                                                                        23
 23
                                                                        24
 24
 25                                                                     25




                                                                    3                                                             5
                         * * *                                                              ZONIE DANIELS IV,
  1                                                                      1
                      EXAMINATION INDEX
  2
                                                                         2
                                                                               having been first duly sworn, testified as
                                                                               follows:
  3                                                                      3
  4

                                             Page
                                                                         4
                                                                                              EXAMINATION
  5
      BY MR. BROOK.................................      5               5
                                                                               BY MR. BROOK:
  6
  7                                                                      6
                                                                                     Q. Good afternoon.
  8
                        * * *
  9
                     INDEX OF EXHIBITS
                                                                         7
                                                                                     A. Good afternoon.
 10                                                                      8
                                                                                     Q. Would you please state your name, spelling
 11
                                                  Page
      Exhibit 4.................................... 64
                                                                         9
                                                                               it for the record.
         Sworn Statement of Zonie Daniels, IV -                         10
                                                                                     A. Zonie Daniels, IV. Z-O-N-I-E, Daniels.
 12

      6/14/11
 13
      (JAHR0008404 - JAHR0008405)
                                                                        11
                                                                               That's the name. D-A-N-I-E-L-S, IV.
      (Retained by Mr. Brook)                                           12
                                                                                     Q. The fourth?
 14

      Exhibit 5.................................... 68
                                                                        13
                                                                                     A. Yes.
 15
         Commanders Request For Nonjudicial                             14
                                                                                     Q. Is there a fifth?
      Punishment Under Article 15, UCMJ
 16
      (1 page)
                                                                        15
                                                                                     A. There is not a fifth. One day maybe.
      (Retained by Mr. Brook)
 17
                                                                        16
                                                                                     Q. Okay. You can't stop now at just four.
      Exhibit 6.................................... 70
                                                                        17
                                                                                     A. Yeah. I know. And my wife is pregnant,
 18
         Commanders Request For Nonjudicial
      Punishment Under Article 15, UCMJ
                                                                        18
                                                                               and she -- it's a girl.
 19
      (JAHR0008443 - 1 page)                                            19
                                                                                     Q. Have you ever been deposed before?
      (Retained by Mr. Brook)
 20
                                                                        20
                                                                                     A. To?
      Exhibit 7.................................... 76                  21
                                                                                     Q. Have you ever been deposed before?
 21
         Document entitled "Sworn Statement for
      Official Use Only, Law Enforcement
                                                                        22
                                                                                     A. Oh, no, never.
 22
      Sensitive, Statement of Isaac Aguigui                             23
                                                                                     Q. Have you ever testified under oath before?
      (JAHR0021180 through JAHR0021183)
 23
      (Retained by Mr. Brook)
                                                                        24
                                                                                     A. I think when I was younger, but that was
 24
 25
                                                                        25
                                                                               it.




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                                                                                              3 (Pages 6 to 9)
                                                         6                                                             8
  1
             Q. Okay.                                          1
                                                                   most likely.
  2
            A. That I can remember at least.                   2
                                                                           So have you -- when you were deposed
  3
             Q. Now, have you been instructed at all on        3
                                                                   before, this was when you were a minor. Is that
  4
      how this is going to work in a question-and-answer       4
                                                                   right?
  5
      format?                                                  5
                                                                        A. Yes.
  6
            A. Yes.                                            6
                                                                        Q. Okay. Have you -- and these are just
  7
             Q. Okay. I'm going to go over it again just       7
                                                                   general questions I have to ask.
  8
      a little bit just to make sure we're all on the same     8
                                                                           Have you ever been arrested?
  9
      page for the record here.                                9
                                                                        A. No.
 10
                So, first and foremost, it's really           10
                                                                        Q. Have you ever been a party to a civil
 11
      important that because there is a transcript being      11
                                                                   lawsuit?
 12
      made, that we try our best not to talk over each        12
                                                                        A. No.
 13
      other. Even if you know where I'm going with the        13
                                                                        Q. When were you born?
 14
      question, if I haven't finished yet, let me finish      14
                                                                        A. August 24th, 1984.
 15
      and then answer. And I will do my best not to talk      15
                                                                        Q. Where was that?
 16
      over you if another question pops in mind.              16
                                                                        A. In Nagpur City, Philippines.
 17
                Do you understand that?                       17
                                                                        Q. And where did you grow up?
 18
            A. Uh-huh.                                        18
                                                                        A. Williamsburg, Virginia.
 19
             Q. Also, it's important to say yes or no in      19
                                                                        Q. When did you move to the United States?
 20
      response to questions. Uh-huh, huh-uh does not work     20
                                                                        A. Oh, man, that's a rough one. Like 1990 or
 21
      for the court reporter. It's going to make her life     21
                                                                   something like that.
 22
      hard, and we have to take care of her first and         22
                                                                        Q. Okay. Were your parents in the military?
 23
      foremost --                                             23
                                                                        A. Yes.
 24
            A. Okay.                                          24
                                                                        Q. And when did you join the military?
 25
             Q. -- so that she can get an accurate record     25
                                                                        A. 2003. November 14, 2003.


                                                         7                                                             9
  1
      of what is being said in this proceeding.                1
                                                                        Q. What was your highest level of education
  2
           A. Okay.                                            2
                                                                   outside the military that you attained?
  3
            Q. As far as the questions go, if you answer       3
                                                                        A. Outside the military? College. I mean, a
  4
      a question that I ask, I'm going to assume that you      4
                                                                   bachelor's degree. Right now I have a master's
  5
      understood it. But if you don't understand a             5
                                                                   degree, but...
  6
      question, it's important that you let me know. Don't     6
                                                                        Q. Where did you get your bachelor's degree?
  7
      answer it and ask me to clarify it, and I'll try to      7
                                                                        A. Virginia State University.
  8
      do that.                                                 8
                                                                        Q. A Hokie.
  9
               Do you understand that?                         9
                                                                        A. No, no.
 10
           A. Okay.                                           10
                                                                        Q. Oh, Virginia Tech I'm thinking of.
 11
            Q. It's possible that at times the lawyer to      11
                                                                   Virginia State. Where is Virginia State?
 12
      your left is going to say "Objection" when I’ve asked   12
                                                                        A. That's Trojans.
 13
      a question. Unless she instructs you not to answer,     13
                                                                           Petersburg, Virginia.
 14
      I will except you to go ahead and answer the question   14
                                                                        Q. Okay. I've got cousins who went to
 15
      if you can. Now, if you can't, again, if you don't      15
                                                                   college in Virginia, but I can't keep track of any of
 16
      understand it, be sure and let me know that.            16
                                                                   them, so...
 17
           A. Okay.                                           17
                                                                            And what was your degree in?
 18
            Q. I don't think there is going to be             18
                                                                        A. History.
 19
      anything here that's going to involve privilege, but    19
                                                                        Q. What is your master's in?
 20
      if she does instruct you not to answer, then it's       20
                                                                        A. Diplomacy. Master's of arts in diplomacy.
 21
      important that you don't answer.                        21
                                                                        Q. It was a master's of what? I'm sorry?
 22
               Do you understand that?                        22
                                                                        A. Master's of arts.
 23
           A. Yes.                                            23
                                                                        Q. A master's of arts. And where did you get
 24
            Q. Okay. If I forget any of the other             24
                                                                   that?
 25
      general rules, I'll let you know and correct myself,    25
                                                                        A. Norwich University.




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                                                                                              4 (Pages 10 to 13)
                                                          10                                                               12
  1
           Q. Where is that?                                    1
                                                                           So 2000- -- I have to go back a little bit
  2
           A. In Vermont.                                       2
                                                                    now because 2007 actually is Fort Knox for OCS -- or
  3
           Q. When did you get that?                            3
                                                                    OBC. Excuse me. OBC. And then --
  4
           A. I just finished September of last year.           4
                                                                         Q. What does OBC stand for?
  5
           Q. So September 2015?                                5
                                                                        A. Officer basic course.
  6
           A. Yes.                                              6
                                                                         Q. Okay.
  7
           Q. And are you currently stationed in                7
                                                                        A. So then after that, it was 2008 at Fort
  8
      Vermont, or were you?                                     8
                                                                    Stewart. And then I left Fort Stewart in 2011 -- no.
  9
           A. No, no. It was all online.                        9
                                                                    2012 was my last official, like, day of -- in Fort
 10
           Q. Okay. I didn't think there was huge Army         10
                                                                    Stewart.
 11
      presence in Vermont, but...                              11
                                                                         Q. Okay. And where did you go then?
 12
           A. No. No.                                          12
                                                                        A. From there, I went to Fort Polk,
 13
           Q. Okay. So, if you don't mind, just going          13
                                                                    Louisiana. It should have been January of 2012.
 14
      to the military, could you maybe even give a list of     14
                                                                         Q. Where did you go after that?
 15
      the duty stations that you've been at in sequential      15
                                                                        A. And then after that, Fort Benning, Georgia
 16
      order?                                                   16
                                                                    in 2013, late 2013.
 17
           A. Yeah. Fort Stewart in 2007. August -- do         17
                                                                         Q. When next?
 18
      you want to count enlisted time? So I'll start from      18
                                                                        A. Fort Hood at the beginning -- in 2014,
 19
      my enlisted time then.                                   19
                                                                    yeah. 2014, Fort Hood, Texas.
 20
             So Sampson, Virginia, when I was enlisted         20
                                                                         Q. And that's your current station. Correct?
 21
      in 2003.                                                 21
                                                                        A. Current station, yeah.
 22
           Q. Okay.                                            22
                                                                         Q. And do you have any particular education
 23
           A. And then in 2007, Fort Stewart in Georgia.       23
                                                                    or training that you received for your position in
 24
           Q. Okay. So when did you go to OCS?                 24
                                                                    the Army?
 25
           A. I didn't go to OCS. I was ROTC.                  25
                                                                        A. Well, yeah. You go through the armor


                                                          11                                                               13
  1
           Q. Okay.                                             1
                                                                    officer basic course, which is -- kind of teaches you
  2
          A. So I was ROTC and currently with the               2
                                                                    how to be an armor officer because I'm an armor
  3
      National Guard.                                           3
                                                                    officer. And then after that, you go --
  4
           Q. I shouldn't pretend like I know anything          4
                                                                         Q. Just to be clear, you're saying armor,
  5
      about miliary terminology. So that much --                5
                                                                    A-R-M-O-R --
  6
                MS. JOHNSON: That's a good try.                 6
                                                                        A. Yes.
  7
           Q. (BY MR. BROOK) Okay. So you went to --            7
                                                                         Q. -- as in, like, tanks and such?
  8
      to ROTC, and that was at Virginia State?                  8
                                                                        A. Right. Right.
  9
          A. Virginia State, yes.                               9
                                                                         Q. Okay.
 10
           Q. And so then you enlisted out of that?            10
                                                                        A. And then you go to the Maneuvers Captains
 11
          A. I commissioned after?                             11
                                                                    Career Course, which is what combat arms officers
 12
           Q. Commissioned after?                              12
                                                                    kind of go to in order to learn their craft a little
 13
          A. Yeah.                                             13
                                                                    better and then to potentially, later on, take
 14
           Q. Okay. So when you said "enlisted time" --
                                                               14
                                                                    command, which is what I'm doing now.
 15
          A. Enlisted time -- sorry. I enlisted in the
                                                               15
                                                                         Q. Okay. And have you been deployed?
 16
      Army in 2003, and then in 2007 is when I commissioned
                                                               16
                                                                        A. Yes, I have.
 17
      as an officer versus being enlisted.
                                                               17
                                                                         Q. When was that?
 18
           Q. Okay.
                                                               18
                                                                        A. I went in 2008 to Iraq.
 19
          A. Because you only got the E ranks and you
                                                               19
                                                                         Q. Okay.
 20
      got the O ranks.
                                                               20
                                                                        A. 2010 --
 21
           Q. Okay. I understand now. Thank you.
                                                               21
                                                                         Q. How long was that for?
 22
              So not counting any of the enlisted time.
                                                               22
                                                                        A. Say it again.
 23
      So Fort Stewart in 2007. I'm sorry. Did you say
                                                               23
                                                                         Q. How long were you deployed for in 2008?
 24
      after that?
                                                               24
                                                                        A. About -- around six months.
 25
          A. No. I didn't get to there.
                                                               25
                                                                         Q. And in 2010?




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                                                                                                     5 (Pages 14 to 17)
                                                           14                                                                16
  1
           A. 2010.                                              1
                                                                             A. It was -- so it's the rear detachment,
  2
            Q. To Iraq again?                                    2
                                                                     which is a combination of all the companies within
  3
           A. Yes, to Iraq again. And that was for               3
                                                                     the squadron.
  4
      about nine months.                                         4
                                                                             Q. So I am very ignorant of the Army in terms
  5
            Q. That was my next question.                        5
                                                                     of all the command structures and such, so I
  6
           A. About nine and a half, something like              6
                                                                     apologize if -- but I think it might be helpful for
  7
      that.                                                      7
                                                                     me to understand since you're, I think, an expert on
  8
            Q. Okay. And then were you ever deployed             8
                                                                     this.
  9
      again?                                                     9
                                                                                  MR. BROOK: Not an expert witness
 10
           A. I was deployed again. So Afghanistan in           10
                                                                     literally, just for the record, to be clear.
 11
      2012. Yeah, 2012.                                         11
                                                                             Q. (BY MR. BROOK) But to help me understand
 12
            Q. Is that one of reasons why you went to a         12
                                                                     some of these basics of things because you were
 13
      different base, was for deployment to a different --      13
                                                                     fairly senior there.
 14
           A. No. It was just time for -- for PCS.              14
                                                                                So within the context of an Army company,
 15
            Q. And as a -- what does that stand for             15
                                                                     can you explain how -- sort of the responsibility of
 16
      again?                                                    16
                                                                     managing soldiers is distributed?
 17
           A. Permanent change of station.                      17
                                                                             A. Okay. So, I mean, you have a chain of
 18
            Q. Permanent change of station. So they like        18
                                                                     command. So typically at the company level, you'll
 19
      to move you around?                                       19
                                                                     have a captain, which is what I would be; and then
 20
           A. Yeah. It's military.                              20
                                                                     you'll have a first sergeant, which is an E-8, which
 21
                (Discussion off the record.)                    21
                                                                     would be your senior enlisted advisor; and then, from
 22
            Q. So we've covered that. And was there any         22
                                                                     there, you would have platoon sergeants within that
 23
      sort of other reason given for why the change of          23
                                                                     company that manages all those other soldiers that's
 24
      base?                                                     24
                                                                     within that company.
 25
               So the Army just doesn't tell you what's         25
                                                                             Q. Okay. And how many, you know, people


                                                           15                                                                17
  1
      going on?                                                  1
                                                                     would there oftentimes be in a platoon typically, for
  2
          A. No, no. Well, you change in order to                2
                                                                     your experience?
  3
      progress your career. So I'm moving on to go and do        3
                                                                             A. So, I mean, it just depends on what --
  4
      other things within my career.                             4
                                                                     like, for an armor -- armor company, for myself, it
  5
           Q. Okay.                                              5
                                                                     would be 16 per platoon, which is led by a platoon
  6
          A. Yeah.                                               6
                                                                     leader and a platoon sergeant.
  7
           Q. Now, when did you get promoted to captain?         7
                                                                             Q. Does the platoon leader have a particular
  8
          A. March of 2010. I'm sorry. No. It was                8
                                                                     rank usually?
  9
      2011. Sorry.                                               9
                                                                             A. Lieutenant.
 10
           Q. And is that when you assumed command of           10
                                                                             Q. And am I right that when you come out of
 11
      the 6-8 Cavalry Squadron?                                 11
                                                                     sort of officer training and such, you're at the rank
 12
          A. No. That was April. About mid-April is             12
                                                                     of lieutenant?
 13
      when I came and took the position.                        13
                                                                             A. Uh-huh. Yes.
 14
           Q. Okay. Do you know if that was made, like,         14
                                                                             Q. Those are like little -- those are just
 15
      retroactive or something to an earlier date?              15
                                                                     graduated or not super-experienced --
 16
          A. So I came back from -- I mean, from, like,         16
                                                                             A. Right.
 17
      R&R around March. But then I came back, and I was         17
                                                                             Q. -- officers, then?
 18
      told to take the command of the rear detachment           18
                                                                             A. Right.
 19
      around my block leave time frame. So I'm pretty sure      19
                                                                             Q. Okay. And underneath them, there would be
 20
      it was around April.                                      20
                                                                     15 or so people, including a sergeant who is
 21
           Q. Okay. And how many people were under your         21
                                                                     typically, I guess, as a noncommissioned officer?
 22
      command at that point?                                    22
                                                                             A. Right. Right. You have an E-7. And
 23
          A. Something around -- between 120, 140.              23
                                                                     within that platoon, though, you have multiple other
 24
           Q. So was that an entire company, then, that         24
                                                                     NCOs. So you would have other tank commanders, so
 25
      you had command of?                                       25
                                                                     you -- typically, the platoon sergeant's an E-7, and




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                                                                                                   6 (Pages 18 to 21)
                                                              18                                                                20
  1
      then you have two other tank commanders, which would          1
                                                                        given by a commissioned officer.
  2
      typically be an E-6, and then a platoon leader.               2
                                                                              Q. Okay. And -- so there's multiple NCOs for
  3
      Those are your TCs typically.                                 3
                                                                        each platoon with a number of, I guess, subordinates?
  4
           Q. Okay.                                                 4
                                                                        What do you call the guys who are at the bottom? Is
  5
          A. And then from there you have gunners, who              5
                                                                        there an acronym for that?
  6
      are typically all E-5s. So all those guys would be            6
                                                                             A. Privates.
  7
      NCOs as well.                                                 7
                                                                              Q. Just privates. Okay.
  8
           Q. Okay. And just to make sure it's clear                8
                                                                             A. No. Subordinates too.
  9
      not only for me but for the record -- so E-16 is a            9
                                                                              Q. Okay. So because it's privates and
 10
      staff sergeant?                                              10
                                                                        specialists --
 11
          A. Right.                                                11
                                                                             A. Right.
 12
           Q. And E-5 is a sergeant. Right?                        12
                                                                              Q. -- that are in that group?
 13
          A. Right.
                                                                   13
                                                                             A. Right.
 14
           Q. And then below that, it's corporal,
                                                                   14
                                                                              Q. Does every NCO have responsibility for
 15
      private first class, second-class private, and then
                                                                   15
                                                                        every private in a platoon?
 16
      private? Is that right?
                                                                   16
                                                                             A. I mean -- so they don't have specific -- I
 17
          A. Yeah. And specialist as well. So
                                                                   17
                                                                        guess you could say yes, but at the same time,
 18
      corporal and then specialist kind of go hand in hand.
                                                                   18
                                                                        it's -- every NCO is in charge of a certain amount of
 19
           Q. Okay. And how does someone be a
                                                                   19
                                                                        soldiers. And, you know, you have -- like that E-6
 20
      specialist or a corporal?
                                                                   20
                                                                        would be in charge of his crew, but because -- I
 21
          A. A corporal is -- it could be laterally
                                                                   21
                                                                        mean, he's still a noncommissioned officer, so he's
 22
      done by a company commander if that specialist shows
                                                                   22
                                                                        still in charge of ensuring the soldier is doing the
 23
      the ability to come in and CO.
                                                                   23
                                                                        right thing.
 24
           Q. And so while they're a specialist, that's
                                                                   24
                                                                              Q. Now, is it the case that there are -- a
 25
      sort of evaluation period for figuring out whether --
                                                                   25
                                                                        given private, are they, you know, sort of required


                                                              19                                                                21
  1
           A. No, not necessarily. So, I mean, it's                 1
                                                                        to follow the instructions of multiple different NCOs
  2
      just a E-4, and then that E-4 may just show that              2
                                                                        at one time, or is there someone who's sort of the
  3
      potential much better than another E-4, and then you          3
                                                                        primary for each outfit?
  4
      could get laterally promoted by myself or the first           4
                                                                            A. So every private will have a chain of
  5
      sergeant to a corporal, and that's really it.                 5
                                                                        command that they would follow. Obviously, if a
  6
              You know, it would just give them the                 6
                                                                        noncommissioned officer was to say, "Hey, you're
  7
      stripes as an NCO.                                            7
                                                                        doing something wrong," they have to listen to you
  8
            Q. Okay.                                                8
                                                                        because you're a noncommissioned officer and he is a
  9
           A. And from that point, it would give him a              9
                                                                        subordinate.
 10
      little bit more leverage, like within -- like a              10
                                                                               But that private does have a chain of
 11
      platoon, if you might say --                                 11
                                                                        command that he would talk to and follow instructions
 12
            Q. Okay. So a corporal --                              12
                                                                        from that -- from that specific chain of command.
 13
           A. -- with exceptions.                                  13
                                                                             Q. So there wouldn't be a situation where
 14
            Q. -- is sort of higher than a specialist,             14
                                                                        there's two NCOs who are directly supervising a
 15
      but it's not really.                                         15
                                                                        private --
 16
           A. But it's not. They're the same rank.                 16
                                                                            A. No.
 17
      Yeah.                                                        17
                                                                             Q. -- as primary?
 18
            Q. Okay. Thank you. I really am learning a             18
                                                                            A. No.
 19
      lot here.                                                    19
                                                                             Q. And if an NCO who is not the primary
 20
               So do the NCOs sort of function as a                20
                                                                        supervisor for a private observes infractions or
 21
      management in the context of an Army company?                21
                                                                        insubordination by a private, is there a
 22
           A. Yes. I mean, they manage the soldiers,               22
                                                                        responsibility on the part of that NCO to report to
 23
      and then, at the same time, they also help train the         23
                                                                        it the primary NCO?
 24
      soldiers and ensure that administrative tasks are            24
                                                                            A. It's their job to be -- to report anything
 25
      completed. And they would execute guidance to us             25
                                                                        that privates or any other soldier is doing. They're




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                                                                                                    7 (Pages 22 to 25)
                                                              22                                                                24
  1
      noncommissioned officers, so they have to do that.            1
                                                                        soldier?
  2
           Q. So if an NCO observes a private repeatedly            2
                                                                            A. I mean, a lot of that is subjective. So
  3
      not showing up for duty, is that acceptable to not            3
                                                                        it's all situation dependent.
  4
      report it?                                                    4
                                                                               So you're saying if an NCO doesn't report
  5
          A. No. You have -- they have to report it.                5
                                                                        something that somebody else does, is that a problem?
  6
           Q. Okay. Do they have any discretion not to              6
                                                                             Q. Yes.
  7
      report that?                                                  7
                                                                            A. Yes. I mean, of course it's a problem.
  8
          A. No. They have to report anything at a --               8
                                                                        Because that person is a noncommissioned officer, it
  9
      if there is something that a soldier is doing that is         9
                                                                        has to be reported, or they have to abide by the
 10
      wrong, immoral, unethical, anything like that, it's          10
                                                                        noncommissioned officer's creed.
 11
      their duty as a noncommissioned officer to ensure            11
                                                                             Q. Okay. And just, again, so I'm clear, if
 12
      that, one, either it's addressed or is reported to           12
                                                                        an NCO determines that it's a minor infraction, that
 13
      that soldier's specific chain of command, and then           13
                                                                        someone just overslept and missed showing up for
 14
      that soldier's chain of command would handle whatever        14
                                                                        formation, is that something that they can decide not
 15
      the situation is.                                            15
                                                                        to report?
 16
           Q. Would you consider a private not showing             16
                                                                            A. I mean, that's up to them because that's
 17
      up for duty to be a minor infraction?                        17
                                                                        their chain of command. So it doesn't have to go all
 18
          A. Not showing up for duty?                              18
                                                                        the way up to the CO. You know, it could be
 19
           Q. Yes.                                                 19
                                                                        something that -- they have a noncommissioned officer
 20
          A. I guess it depends on how long they                   20
                                                                        and a soldier. The soldier doesn't show up to PT or
 21
      disappear. If they just happen to, like, oversleep           21
                                                                        something like that, and then it could be something
 22
      or something, yes, it's a minor infraction. But if           22
                                                                        that he takes care of at his level.
 23
      they just outright don't show up...                          23
                                                                             Q. Okay. So -- and then -- so a sergeant who
 24
           Q. So if it's a recurring problem, does                 24
                                                                        sees a private who doesn't show up for PT, that
 25
      that -- can that be a minor infraction for someone to        25
                                                                        sergeant could decide to deal with it at his level


                                                              23                                                                25
  1
      repeatedly not show up for duty?                              1
                                                                        rather than reporting it is what you're saying?
  2
           A. No. It then turns into potentially UCMJ               2
                                                                             A. Right. Right.
  3
      actions if it's reoccurring often.                            3
                                                                              Q. Okay. So I'm trying to understand, when
  4
           Q. Okay.                                                 4
                                                                        is it something that has to be actually reported up
  5
           A. The first few times, it may just be a                 5
                                                                        the chain of command?
  6
      counseling or a negative counseling. But if it's              6
                                                                             A. If it continuously happens.
  7
      continuously happening, it then turns into a UCMJ             7
                                                                              Q. Now, is there any sort of specific rule,
  8
      action.                                                       8
                                                                        or is that just a judgment call as to whether
  9
           Q. Now, is the fact that someone has already             9
                                                                        continuous or repeated problems are something that
 10
      been the subject of UCMJ action something that is            10
                                                                        has to be reported?
 11
      important for an NCO to consider when deciding               11
                                                                             A. I mean, you kind of build a packet on a
 12
      whether or not to, you know, consider an infraction          12
                                                                        soldier. So you build a packet, and once you build
 13
      minor or insignificant?                                      13
                                                                        that packet, if there's a certain amount of
 14
           A. So, I mean, if it's a troubled soldier,              14
                                                                        infractions, you just -- you have to kind of come to
 15
      yes. It then becomes like an issue where -- where            15
                                                                        a point where you're like, "All right. Does this
 16
      the soldier is continuously still either                     16
                                                                        soldier" -- "is this soldier understanding these
 17
      disrespecting orders from either commissioned                17
                                                                        counselings I'm giving him?" If he's not getting
 18
      officers or noncommissioned officers. So then it             18
                                                                        these counselings or understand these counselings,
 19
      does become -- it gets taken up to a higher level as         19
                                                                        you then have to escalate it to where the soldier
 20
      far as punishment, you might say.                            20
                                                                        receives UCMJ action.
 21
           Q. Right. And if someone has had that prior             21
                                                                              Q. So is there a requirement, though, like,
 22
      history and then an NCO doesn't report that                  22
                                                                        there's a certain number, like five times or ten
 23
      infraction that subsequently occurs, is that going to        23
                                                                        times, when sergeants are instructed that they have
 24
      be a problem for the commanding officer to be able to        24
                                                                        to report it further up the chain of command?
 25
      decide what to do with someone who's been a troubled         25
                                                                             A. No. I mean, there's no number. That's




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                                                                                                    8 (Pages 26 to 29)
                                                              26                                                               28
  1
      all discretionary at the level of the chain of                1
                                                                        sergeant within the headquarters platoon.
  2
      command.                                                      2
                                                                             Q. How many platoon sergeants are there?
  3
           Q. Okay. Now, what about, as far as the UCMJ             3
                                                                            A. Four. So you have the headquarters,
  4
      goes, if a sergeant knows that there's a pattern of           4
                                                                        first, second, third.
  5
      misconduct by a private but they intentionally do not         5
                                                                             Q. And is it common practice to have a
  6
      report that because they want to protect the private          6
                                                                        private that's assigned to the headquarters platoon?
  7
      from the consequences that they know will be dealt to         7
                                                                            A. Yes.
  8
      the person? Is that a problem?                                8
                                                                             Q. Okay. How many?
  9
           A. Yes. That's a problem for -- for the --               9
                                                                            A. It all depends on -- on the unit. So, I
 10
      definitely for a noncommissioned officer.                    10
                                                                        mean, typically you'll have a supply clerk, you'll
 11
           Q. Is that a violation of the UCMJ?                     11
                                                                        have drivers. Like, the first arms driver, my
 12
           A. Yes.                                                 12
                                                                        driver, or the CO driver, commo rep. It varies from
 13
           Q. Do you know what part of the UCMJ?                   13
                                                                        unit to --
 14
           A. I'm not sure exactly the article or                  14
                                                                             Q. Is being a private in the headquarters
 15
      nothing, but I would have to, like, actually look            15
                                                                        platoon an important job?
 16
      into it as far as what article that would be.                16
                                                                            A. I would say yes.
 17
           Q. Would it surprise you if that was not a              17
                                                                             Q. Is it important to maintain, I guess, rule
 18
      violation of the UCMJ?                                       18
                                                                        and order among the people in the headquarters
 19
           A. Yes. But at the same time, there's many              19
                                                                        platoon?
 20
      ways you can kind of look into it as far as what UCMJ        20
                                                                            A. Yes.
 21
      actions could be taken.                                      21
                                                                             Q. So if someone is displaying a pattern of
 22
           Q. What is the NCO's creed?                             22
                                                                        not showing up for duty in the headquarters platoon
 23
           A. Well, I don't know it, but it's something            23
                                                                        and they're a private in that platoon, is that a
 24
      that the NCOs specifically know, and they live by            24
                                                                        problem for the platoon?
 25
      that.                                                        25
                                                                            A. I'm sorry. State it again.


                                                              27                                                               29
  1
           Q. Okay. Is this written down somewhere                  1
                                                                                     MR. BROOK: Go off the record for
  2
      that --                                                       2
                                                                        a second.
  3
          A. Yes.                                                   3
                                                                                     (Discussion off the record.)
  4
           Q. -- you can look it up?                                4
                                                                             Q. (BY MR. BROOK) I think I may have asked
  5
                Okay. What is the headquarters platoon?             5
                                                                        the wrong question, then.
  6
          A. So headquarters platoon is typically the               6
                                                                                Within just the headquarters platoon, how
  7
      platoon -- so within a company, you have                      7
                                                                        many sergeants are there?
  8
      headquarters, you've got first platoon, second                8
                                                                            A. Man. Now, are you talking specifically
  9
      platoon, third platoon, like that. Headquarters is            9
                                                                        like at Fort Stewart where I was or just in general?
 10
      typically the guy that's like -- commo guy, training         10
                                                                             Q. I'm talking about -- let's go to
 11
      room guy, typically the first armor commander, a few
                                                                   11
                                                                        specifics.
 12
      of the -- the supply, the MOSs that aren't like the
                                                                   12
                                                                                Based on what you said, you were in the
 13
      combat arms guys.
                                                                   13
                                                                        headquarters platoon for the 6-8 Cavalry at Fort
 14
           Q. Okay. So that would not include you as a
                                                                   14
                                                                        Stewart. Correct?
 15
      captain?
                                                                   15
                                                                            A. No -- well -- so at Fort Stewart, I was
 16
          A. I'm in the headquarters.
                                                                   16
                                                                        the rear detachment commander, so --
 17
           Q. Okay.
                                                                   17
                                                                             Q. So there's multiple --
 18
          A. But I am combat arms, but I am -- I'm part
                                                                   18
                                                                            A. So that's a little different, and that's a
 19
      of the headquarters because I'm in the headquarters
                                                                   19
                                                                        whole different setup. Like a company versus rear
 20
      of my company.
                                                                   20
                                                                        detachment, everything is totally different.
 21
           Q. So is everyone at --
                                                                   21
                                                                             Q. Okay. So for each company, what was the
 22
          A. It's hard to explain.
                                                                   22
                                                                        rank of the person who was in -- commander for the
 23
           Q. Is everyone in the headquarters platoon
                                                                   23
                                                                        company at Fort Stewart?
 24
      then reporting to you?
                                                                   24
                                                                            A. At -- at 6-8 in the rear detachment or in
 25
          A. No, no. So they also have a platoon
                                                                   25
                                                                        general?




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                                                                                                   9 (Pages 30 to 33)
                                                              30                                                               32
  1
             Q. At the 6-8 in rear detachment.                      1
                                                                        about killing the President of the United States even
  2
             A. Okay. So typically, I think it was -- it            2
                                                                        in a joking manner?
  3
      was normally a staff sergeant because, of course,             3
                                                                              A. I mean, it would in their -- in their duty
  4
      commanders and everything is forward in Iraq. So it           4
                                                                        as a soldier of the United States to report that.
  5
      was -- it was a -- whatever staff sergeant was left           5
                                                                               Q. And is the same true for harming anyone
  6
      behind by that company was what was in the position.          6
                                                                        else in the United States military?
  7
             Q. Okay. So the staff sergeant for each                7
                                                                              A. Right.
  8
      company then was under the UCMJ, the commander. Is            8
                                                                               Q. Is there any sort of difference between
  9
      that right?                                                   9
                                                                        threatening to kill a civilian and threatening to
 10
             A. See, it's hard -- it's different for a             10
                                                                        kill a fellow soldier in terms of the soldier's
 11
      rear detachment. So they're not the commander, but           11
                                                                        duties to report that up the chain?
 12
      they -- they're in charge of the soldiers in that            12
                                                                              A. No. I mean, if somebody is threatening to
 13
      formation. That's I guess how I can say it, is               13
                                                                        kill anybody, you report it.
 14
      they're in charge of those -- they're the NCYCs of           14
                                                                               Q. And what if someone was actually not just
 15
      that company's set of soldiers.                              15
                                                                        threatened to kill but has agreed to kill someone
 16
             Q. Okay. So for each of those sets of                 16
                                                                        else and even bought a gun to do that? Is that
 17
      soldiers, is that the person who needs to make any           17
                                                                        something that that soldier, I guess -- would that
 18
      decision about whether an infraction gets reported or        18
                                                                        soldier be violating the UCMJ by going through those
 19
      not?                                                         19
                                                                        measures and going that far as to buy a gun to kill
 20
             A. Yes. Yes.                                          20
                                                                        someone?
 21
             Q. Can anyone subordinate to that soldier             21
                                                                                    MS. JOHNSON: I'm going to object
 22
      make that decision about whether it gets reported or         22
                                                                        as to form.
 23
      not?                                                         23
                                                                                    If you understand, you can answer.
 24
             A. If there is another NCO within that unit,          24
                                                                                    MR. BROOK: I don't even
 25
      yes, they could.                                             25
                                                                        understand what I said there. I'm going to


                                                              31                                                               33
  1
              Q. Can anyone subordinate to an NCO make a            1
                                                                        withdraw the question and restate it.
  2
      decision about whether to report an infraction or             2
                                                                             Q. (BY MR. BROOK) Let's suppose a soldier
  3
      not?                                                          3
                                                                        has agreed to kill someone with another soldier who
  4
             A. If they have somebody that is below them,           4
                                                                        is a civilian. Is that something that is a violation
  5
      yes, they could report that.                                  5
                                                                        of the UCMJ?
  6
                I mean, in all actuality, if a soldier is           6
                                                                            A. I would have to look at the articles, but,
  7
      seeing something that is not right, is not ethical,           7
                                                                        I mean, I'm sure it would be.
  8
      is not -- it's not moral, they could report that.             8
                                                                             Q. Okay. Is that something where, if -- if
  9
             Q. Okay. When do they have to report that?             9
                                                                        one of the soldiers under your command had agreed
 10
             A. When they're -- it's all kind of like --
                                                                   10
                                                                        with another soldier under your command to kill
 11
      it's all subjective. So if a soldier sees something
                                                                   11
                                                                        someone and had taken steps towards doing that, is
 12
      that is wrong, he could report it.
                                                                   12
                                                                        that something where they would be referred for UCMJ
 13
             Q. Now, again, I'm using a somewhat loaded
                                                                   13
                                                                        action?
 14
      hypothetical here, but if a soldier -- one private
                                                                   14
                                                                            A. I mean, an investigation would have to be
 15
      hears another private talking about killing
                                                                   15
                                                                        put in place. I mean, those are the -- I can’t
 16
      civilians, is that something that that soldier can
                                                                   16
                                                                        specifically -- like, on something on that level, I
 17
      decide not to report?
                                                                   17
                                                                        can’t just go, "Hey, I'm giving UCMJ action." There
 18
             A. I mean, it would be in his duty to report,
                                                                   18
                                                                        would have to be some form of an investigation --
 19
      and any human being would probably want to report
                                                                   19
                                                                             Q. Right.
 20
      that. I mean, honestly.
                                                                   20
                                                                            A. -- that would have to come -- that would
 21
             Q. Can you think of any reason why a soldier
                                                                   21
                                                                        have to take place, and then the findings of that
 22
      would not report that and that would be okay?
                                                                   22
                                                                        investigation would then cause the -- whatever the
 23
             A. I don't see why a soldier would not report
                                                                   23
                                                                        UCMJ action is or administrative action would be.
 24
      that.
                                                                   24
                                                                             Q. Okay. I just want to step back now. I
 25
             Q. What if someone overheard someone talking
                                                                   25
                                                                        got a little sidetracked from trying to first




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                                                                                                   10 (Pages 34 to 37)
                                                              34                                                                36
  1
      understand the chain of command a little bit.                 1
                                                                        like E-4, E-5, it's like, I think, four weeks, if I
  2
                 Is the term "first line superior" a term           2
                                                                        can remember right. And then, as you go higher, it
  3
      that's used in --                                             3
                                                                        gets a little longer.
  4
              A. So first line is typically like the first          4
                                                                             Q. So I just want to ask you a few questions
  5
      person that soldier goes to.                                  5
                                                                        about some different names of people from Fort
  6
              Q. Okay. And for the typical private -- I             6
                                                                        Stewart to see who you know and -- like that, because
  7
      mean, is that something where they're told, "This             7
                                                                        I don't want to ask you a whole bunch of questions
  8
      person is your first line superior"?                          8
                                                                        about people you have no idea who they are.
  9
              A. Right.                                             9
                                                                                I had a list on that.
 10
              Q. Okay. And I'm trying to understand if --          10
                                                                                   MR. BROOK: Thank you.
 11
      is there a record of who's first line supervisor             11
                                                                             Q. (BY MR. BROOK) Let's start with
 12
      that's kept by the headquarters group?                       12
                                                                        Lieutenant Colonel Hadley.
 13
              A. I mean, we have a -- we would have a --           13
                                                                            A. He was the battalion commander -- or
 14
      kind of a chain of command hierarchy, but that would         14
                                                                        squadron commander when I left.
 15
      be really at the platoon level or that section's             15
                                                                             Q. So did he take over for you then? Is that
 16
      level to -- to determine what their chain of                 16
                                                                        how it worked?
 17
      command's going to be.                                       17
                                                                            A. No. So he's the actual squadron
 18
              Q. So it's not something where -- that you           18
                                                                        commander. So's an 0-5. So I'm an O-3, but he's an
 19
      can think of there is a document somewhere that would        19
                                                                        0-5. So he was the actual squadron commander, and he
 20
      say, "Back in 2011, what was the chain of command            20
                                                                        was forward -- actually, I'm sorry. No. He took
 21
      for, you know, the headquarters platoon for the 6-8          21
                                                                        over after.
 22
      Cavalry, one of the companies"?                              22
                                                                                So he took over after -- he took over the
 23
              A. Right. I don't think I'd be able to tell          23
                                                                        squadron I think in 2000- -- late 2011, something
 24
      you exactly what soldier reported to what person and         24
                                                                        like that. It might have been October of 2011.
 25
      all that stuff. Yeah.                                        25
                                                                        Something like that.


                                                              35                                                                37
  1
              Q. In your experience, speaking generally,            1
                                                                             Q. And were you still in your same position
  2
      not just at Fort Stewart, did the company NCOs                2
                                                                        at that point?
  3
      consult each other or discuss soldier's disciplinary          3
                                                                            A. At that point I was the -- I was in the
  4
      problems and how to address them, or do they resolve          4
                                                                        S-3 shop. Just an assistant S-3.
  5
      such problems on their own?                                   5
                                                                             Q. So what does that mean, S-3?
  6
          A. I would say probably yes. I mean, they --              6
                                                                            A. Just operations.
  7
      I don't see why they wouldn't. I mean, in -- I guess          7
                                                                             Q. Okay. So stepping back. So at some point
  8
      in the way soldiers -- or NCOs may look to another            8
                                                                        you did assume command of the 6-8 Cavalry squadron in
  9
      NCO to gain an understanding of how they should               9
                                                                        April 2011. Is that right, just to go back?
 10
      handle a situation maybe, especially if it's a new           10
                                                                            A. Yes, as the -- as a rear detachment
 11
      NCO. If it's a young NCO that's having an issue, he          11
                                                                        commander.
 12
      may go to a senior NCO and say, "Hey, I'm having this        12
                                                                             Q. And then when did you change position from
 13
      issue with somebody. What should I do?"                      13
                                                                        that to something else?
 14
              Q. Is there training that's given to NCOs            14
                                                                            A. Around July. July I went -- kind of went
 15
      about how the deal with troubled soldiers under their        15
                                                                        to the S-3 shop.
 16
      command?                                                     16
                                                                             Q. Went to the S-3 shop?
 17
          A. I mean, they all go to -- a lot of it's               17
                                                                            A. Yes.
 18
      really just learning experiences, quite honestly.            18
                                                                             Q. That's still at Fort Stewart. Right?
 19
      They do go to their own NCO schooling, like AOC.             19
                                                                            A. Yes, it's still at Fort Stewart. It's all
 20
              Q. Do you know how long that lasts?                  20
                                                                        within the same unit.
 21
          A. I don't know exactly how long it actually             21
                                                                             Q. Okay. And how many people are in the S-3
 22
      is. I'm not sure exactly how long it is.                     22
                                                                        shop?
 23
              Q. Okay. Is it a matter of weeks or months           23
                                                                            A. I really couldn't tell you how much -- how
 24
      or --                                                        24
                                                                        much it was there. Probably anywhere between 10 and
 25
          A. I think it depends on the echelon. So for             25
                                                                        20 guys.




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                                                                                                  11 (Pages 38 to 41)
                                                              38                                                              40
  1
          Q. At that point did you retain any command               1
                                                                        they were just still being supervised by their
  2
      over the people who were in the cavalry squadron rear         2
                                                                        company commander?
  3
      detachment?                                                   3
                                                                            A. Right.
  4
          A. No, no.                                                4
                                                                             Q. I think I finally get it now, the
  5
          Q. Who took over after you for the rear                   5
                                                                        situation.
  6
      detachment?                                                   6
                                                                                So would you communicate with the company
  7
          A. So what happens after -- there was no more             7
                                                                        commanders about soldiers that were in the Rear D?
  8
      rear detachment after everybody comes back. So the            8
                                                                            A. I would communicate primarily with either
  9
      rear detachment -- if you don't mind me going into            9
                                                                        their company commanders or the -- the squadron XO or
 10
      what the rear detachment is for.                             10
                                                                        the squadron commander. So those are the main people
 11
          Q. Yeah. Why don't we start with that?                   11
                                                                        that I would talk to if -- if I was having an issue
 12
          A. So the rear detachment is typically made              12
                                                                        or if I needed to talk to somebody about specific
 13
      for a unit that's deploying forward to, like, Iraq,          13
                                                                        issues with a soldier or something, that's who I
 14
      Afghanistan, whatever, wherever it is that they're           14
                                                                        would talk to.
 15
      going, but they -- it's made specifically because            15
                                                                             Q. So the squadron XO and the squadron
 16
      these specific soldiers stay back and don't go into          16
                                                                        leader, those were people who were deployed?
 17
      deployment.                                                  17
                                                                            A. Right. Yeah. They'd be deployed.
 18
            So somebody has to be in charge of all                 18
                                                                             Q. Okay. So now I got to go through some
 19
      those soldiers. So that's why a rear detachment is           19
                                                                        more of those names.
 20
      made, and then a rear detachment OIC or commander is         20
                                                                                Isaac Aguigui?
 21
      put into the position.                                       21
                                                                            A. Right. So he was in the S-2 shop when I
 22
          Q. Okay. So what happened in July then?                  22
                                                                        was there.
 23
      Was -- everyone came back?                                   23
                                                                             Q. And what does the S-2 shop do?
 24
          A. Yeah. Everybody came back in July. So                 24
                                                                            A. The military intelligence section.
 25
      then there was like -- Rear D was no more.                   25
                                                                             Q. Is a security clearance required to work


                                                              39                                                              41
  1
           Q. I guess that was the part I was missing,              1
                                                                        in that?
  2
      that everyone came back.                                      2
                                                                             A. Yes.
  3
          A. Yeah.                                                  3
                                                                              Q. What level?
  4
           Q. Okay. So at that point, then -- so you                4
                                                                             A. I'm not sure exactly if it has to be TS,
  5
      stopped having the same supervisory responsibilities          5
                                                                        but it's secret. At least a secret, from my
  6
      over those 140 or so soldiers in July of 2011?                6
                                                                        understanding.
  7
          A. Right.                                                 7
                                                                              Q. And TS stands for top secret. Right?
  8
           Q. Okay. Who took over for you in terms of               8
                                                                             A. Yeah. Right.
  9
      supervising those people?                                     9
                                                                              Q. Again, just for the transcript. That one
 10
          A. So they all went back to their companies.             10
                                                                        I actually knew.
 11
           Q. Okay. Okay. So I think I now understand.
                                                                   11
                                                                                 Anthony Peden?
 12
      So the rear detachment portion, they have their
                                                                   12
                                                                             A. He worked in the S-3 shop.
 13
      companies that included people here and fighting
                                                                   13
                                                                              Q. And did he work there while you were
 14
      abroad, but when they remained here, they were sort
                                                                   14
                                                                        working there too?
 15
      of an ad hoc company of sorts underneath your
                                                                   15
                                                                             A. He was already there when I got there. So
 16
      command. Is that right?
                                                                   16
                                                                        yes.
 17
          A. Right. Yeah. It's just all the companies
                                                                   17
                                                                              Q. What were his responsibilities?
 18
      leave a certain amount of soldiers back. So every
                                                                   18
                                                                             A. He was kind of just like an ops NCO pretty
 19
      soldier that they leave back comes to the Rear D, and
                                                                   19
                                                                        much.
 20
      then they're kind of left in their little company
                                                                   20
                                                                              Q. What is an NTO?
 21
      formations, but they're back here versus being
                                                                   21
                                                                             A. NCO, operations NCO.
 22
      forward.
                                                                   22
                                                                             Q. Okay. Operations NCO?
 23
           Q. Because, otherwise, they would be in the
                                                                   23
                                                                             A. Right. And just kind of try to help
 24
      awkward position of being under the command of
                                                                   24
                                                                        facilitate information that comes from brigade or
 25
      someone who wasn't even in the country, right, if
                                                                   25
                                                                        whatever.




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                                                                                                12 (Pages 42 to 45)
                                                             42                                                             44
  1
          Q. Did he have any training responsibilities?            1
                                                                       have their name recorded?
  2
          A. No, not really, because we weren't                    2
                                                                           A. So they don't record people's names as
  3
      training in the Rear D.                                      3
                                                                       they come on post. They -- you know, as long as
  4
          Q. Did he have any reason to be shooting a               4
                                                                       they're with somebody that is allowed to come on
  5
      weapon in his position?                                      5
                                                                       post, they're typically allowed on post.
  6
          A. Then, no. I mean, I think he's an                     6
                                                                            Q. Okay. Next name, Michael Burnett?
  7
      infantryman. I'm not sure if he was an infantryman           7
                                                                           A. Uh-huh.
  8
      or a 19 delta. But he -- in the Rear D -- I guess --         8
                                                                            Q. Do you know that name?
  9
      are you asking me what -- like, before or, like,             9
                                                                           A. I do know the name. He -- I'm trying to
 10
      while I was there?                                          10
                                                                       remember where he worked. I think he worked in the
 11
          Q. I'm asking, you know, while he was there             11
                                                                       S-6 shop, I believe, which is the communications
 12
      with you in 2011.                                           12
                                                                       shop.
 13
          A. Right. Absolutely. He had no reason to               13
                                                                            Q. S-6 is communications?
 14
      have a weapon. But, I mean, every soldier is --             14
                                                                           A. Right.
 15
      you're allowed to have a weapon if you so choose to         15
                                                                            Q. How about Christopher Salmon?
 16
      have one, as long as it's registered.                       16
                                                                           A. When I got there, he worked in the S-1
 17
          Q. And where does the weapon get registered?            17
                                                                       shop, which is the administrative shop. Or personnel
 18
          A. Depends on the state. And, typically --              18
                                                                       shop.
 19
      it's in Georgia, so you have to register your weapon.       19
                                                                            Q. So what do they do?
 20
          Q. So registered with the state?                        20
                                                                           A. Just personnel actions is the -- basically
 21
          A. Right.                                               21
                                                                       all the -- ensuring that documents are -- are
 22
          Q. Does the weapon have to be registered with           22
                                                                       completed properly, and it's the administrative
 23
      the base?                                                   23
                                                                       portion of the Army, I guess you could say, yeah.
 24
          A. If he lives on post.                                 24
                                                                            Q. So they're the ones -- do they keep track
 25
          Q. Okay. And if you're off post, there is no            25
                                                                       of each soldier's personnel file?


                                                             43                                                             45
  1
      requirement to --                                            1
                                                                            A. Yes.
  2
            A. Right.                                              2
                                                                            Q. Do you know if Chris Salmon had access to
  3
            Q. -- register?                                        3
                                                                       those files to be able to, you know, say, remove a
  4
               Now, if someone wants to bring it on with           4
                                                                       document if he wanted to?
  5
      a conceal and carry permit from off base, is that            5
                                                                            A. I'm trying to remember if he did. He
  6
      something where they have to let the base know that          6
                                                                       worked in the S-1 shop. I just don't -- I'm not
  7
      they're bringing a weapon onto the base?                     7
                                                                       exactly sure if he had access to all that stuff.
  8
            A. You can't bring a weapon on post unless             8
                                                                            Q. Okay. Are there security provisions in
  9
      it's registered on post.                                     9
                                                                       place to try to protect the information in the S-1
 10
            Q. Are there ever, you know, inspections to           10
                                                                       group?
 11
      try to figure out whether there's unregistered              11
                                                                            A. Yes. Yes.
 12
      weapons on base?                                            12
                                                                            Q. Are there soldiers whose job it is to
 13
            A. Yeah. They'll do that at the gate.                 13
                                                                       secure that information, or no?
 14
      They'll do, like, random inspections to see if people       14
                                                                            A. Well, I mean, it -- so if they're in S-1
 15
      have stuff.                                                 15
                                                                       shop, yes, they have the -- what am I trying to say?
 16
            Q. Now, when people are coming in the gate,           16
                                                                       They have to secure the documents. You can't just
 17
      is everyone who's in the car required to sign in or         17
                                                                       let people, you know, pass the desk and stuff like
 18
      just one person for, say, a car of four people?             18
                                                                       that.
 19
            A. Typically, if they're all soldiers, they           19
                                                                            Q. How about the name Heather Salmon? Do you
 20
      show their ID. But if it's somebody that's not a            20
                                                                       know that one?
 21
      soldier, they would either have to go to the visitor        21
                                                                            A. Well, I'm assuming that's his -- his wife,
 22
      center to get kind of been through, and they'll be          22
                                                                       but, no, I didn't know her.
 23
      able to come on post.                                       23
                                                                            Q. Okay. Have you heard of her since you
 24
            Q. Is there any reason why if a minor, say,           24
                                                                       were there?
 25
      was coming in onto base, that that person would not         25
                                                                            A. I think I heard her name, but I never met




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                                                                                           13 (Pages 46 to 49)
                                                             46                                                          48
  1
      her or nothing.                                              1
                                                                       basis because he was in headquarters?
  2
            Q. Christopher Jenderseck?                             2
                                                                             A. A little bit. Actually, we enlisted him.
  3
           A. I believe he's a medic, but I do remember            3
                                                                       But yeah. Not a whole lot, but I did interact with
  4
      him, yeah. He was in the -- I think he was deployed          4
                                                                       him.
  5
      with us. I'm not sure if he was deployed with us or          5
                                                                             Q. Would you be able to recognize him if you
  6
      not, but I believe he was.                                   6
                                                                       saw him?
  7
            Q. Okay. How about Adam Dearman?                       7
                                                                             A. Oh, yes.
  8
           A. Dearman, I don't know that one.                      8
                                                                             Q. Okay. In that case I will take a slight
  9
            Q. Anthony Garner?                                     9
                                                                       detour, and I'm going to show you a video that's been
 10
           A. I don't know that one.                              10
                                                                       marked as Exhibit 3 previously. I want to ask you if
 11
            Q. Timothy Joiner?                                    11
                                                                       you can identify the people who are in this.
 12
           A. I don't think I know that one, no.                  12
                                                                                  MR. BROOK: If it's okay with
 13
            Q. Richard Teegardin?                                 13
                                                                       opposing counsel, I'm only going to play the
 14
           A. No.                                                 14
                                                                       first couple of minutes, not the second half. Is
 15
            Q. Stephen Payne?                                     15
                                                                       that okay?
 16
           A. No.                                                 16
                                                                                  MS. JOHNSON: Let me think about
 17
            Q. Erica Romeo or Romeo [pronouncing]?                17
                                                                       the video for a minute.
 18
           A. I remember a Romeo, but I don't know if             18
                                                                                  MR. BROOK: Okay. I'll let you
 19
      that's the one. Is that a female?                           19
                                                                       know when I'm planning to stop, and you can tell
 20
            Q. Female.                                            20
                                                                       me.
 21
           A. Yes. I don't know -- I don't know a                 21
                                                                                  MS. JOHNSON: Yeah.
 22
      female Romeo.                                               22
                                                                                   (Playing video.)
 23
            Q. It was Specialist Romeo, I think.                  23
                                                                                  MR. BROOK: Now we've played the
 24
           A. Yeah. I don't know.                                 24
                                                                       first 2 minutes and 20 seconds of what was marked
 25
            Q. Michael Schaefer?                                  25
                                                                       as Exhibit 3.


                                                             47                                                          49
  1
          A. Schaefer, Schaefer, Schaefer. I think I               1
                                                                            Q. (BY MR. BROOK) Were you able to recognize
      kind of remember Schaefer.                                       the people who were in the video?
  2                                                                2

           Q. I think he went AWOL during --                               A. I don't know who the driver was, but, I
  3                                                                3

  4
          A. Was he E-5?                                           4
                                                                       mean, the other one was definitely Zipp.
  5
           Q. I don't know if that's the case, but does            5
                                                                            Q. Okay.
  6
      the name Michael Schaefer, who went AWOL --                  6
                                                                           A. At least from that side profile, it looks
  7
          A. Well, Schaefer sounds familiar, but I'm               7
                                                                       just like him.
  8
      not sure if that's him.                                      8
                                                                            Q. And did it sound like him?
  9
           Q. I'm trying my best, but we both need to              9
                                                                           A. I can’t really remember the voice
 10
      try not to talk over each other. We both need to be         10
                                                                       specifically, but I think it sounded like him, yeah.
 11
      conscious of that.                                          11
                                                                            Q. And I think in the video he did refer to
 12
             Okay. John Dodds.                                    12
                                                                       him as Zipp a few times as well?
 13
          A. No.                                                  13
                                                                           A. Yeah.
 14
           Q. Scott Zipp?                                         14
                                                                            Q. Do you know a Sergeant First Class
 15
          A. Zipp, yes. I know him.                               15
                                                                       Lapsley?
 16
           Q. And who was Zipp?                                   16
                                                                           A. I don't even know who that is.
 17
          A. Man, what was he? He was the -- I think              17
                                                                            Q. Do you think that may have been a made-up
 18
      he was the CBRNE NCO. Yeah. He was our CBRNE NCO in         18
                                                                       name?
 19
      the headquarters.
                                                                  19
                                                                           A. I'm not sure.
 20
           Q. And what did he do in headquarters?
                                                                  20
                                                                            Q. It's not a name you've ever heard before?
 21
          A. He was a -- oh, so he's a NBC guy. So
                                                                  21
                                                                           A. No.
 22
      nuclear, biological, chemical. Now it's called
                                                                  22
                                                                            Q. Had you ever seen that video before?
 23
      CBRNE, which is a little different.
                                                                  23
                                                                           A. No, I haven't seen that before.
 24
           Q. So is he someone where -- you know, did
                                                                  24
                                                                            Q. Did you have any involvement in an
 25
      you ever -- did you interact with Zipp on a frequent
                                                                  25
                                                                       investigation into whether Sergeant Zipp had




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                                                                                            14 (Pages 50 to 53)
                                                          50                                                               52
  1
      committed a misconduct with respect to supervising        1
                                                                         A. I might know Castleton. If he was an E-5,
  2
      Private Aguigui?                                          2
                                                                    I think -- I think he was like the S-2 NCYC, if that
  3
           A. I don't believe so. I don't remember.             3
                                                                    was him. I think.
  4
      No, I don't think so.                                     4
                                                                         Q. So then he would have been the first line
  5
           Q. Okay. So just going back to the name              5
                                                                    supervisor for Private Aguigui in S-2?
  6
      Isaac Aguigui, I'm guessing that, you know, since you     6
                                                                         A. If that's the one I'm thinking about, yes,
  7
      didn't recognize him in that video, that you did not      7
                                                                    he would be one of his NCOs.
  8
      have much one-on-one interaction with him?                8
                                                                         Q. Okay. How about Nicole Castleton,
  9
           A. Well, I'm not going to say I didn't have a        9
                                                                    Specialist Castleton?
 10
      lot of interaction with him, but I just didn't           10
                                                                         A. Is that his wife? No. I don't really
 11
      recognize him in that one, no.                           11
                                                                    know his wife, so yeah.
 12
           Q. Okay. So it's not someone where you would        12
                                                                         Q. James Davis?
 13
      recognize him just by his voice?                         13
                                                                         A. James Davis.
 14
           A. Right. Right. I'd recognize his face,            14
                                                                         Q. I believe PFC.
 15
      but I don't think I'd recognize his voice too much.      15
                                                                         A. No.
 16
           Q. Right. And where the camera was on that,         16
                                                                         Q. How about PFC Kelly Davis?
 17
      you couldn't see the driver?                             17
                                                                         A. No.
 18
           A. Right.                                           18
                                                                         Q. Anthony Almaguer?
 19
           Q. So next on the list is Nathan or Nate            19
                                                                         A. No.
 20
      McNew?                                                   20
                                                                         Q. Specialist Alex Holland?
 21
           A. McNew. I don't know that one.                    21
                                                                         A. Alex Holland. I don't think so.
 22
           Q. Jeffrey Roberts?                                 22
                                                                         Q. Specialist Pierre Robertson?
 23
           A. No.                                              23
                                                                         A. Nope.
 24
           Q. Michael Adkins?                                  24
                                                                         Q. Private Edwin Mendez?
 25
           A. I don't think so.                                25
                                                                         A. I don't think so. But, I mean, like --


                                                          51                                                               53
  1
          Q. Vincent Rolstand?                                  1
                                                                    there's Mendezes -- I think I’ve known Mendezes, so I
  2
          A. I don't know him.                                  2
                                                                    don't know.
  3
          Q. Geraldo Villarreal?                                3
                                                                         Q. What would -- this is just definitional.
  4
          A. No.                                                4
                                                                    If someone referred to the entire S-2 section of HHC
  5
          Q. David Rosario?                                     5
                                                                    6-8 CAV, what does that refer to?
  6
          A. Rosario sounds familiar.                           6
                                                                        A. The entire section of S-2? It would be
  7
          Q. I believe he was private first class or            7
                                                                    the S- -- lists everybody that works within the S-2
  8
      may have been a specialist.                               8
                                                                    shop if somebody's referring to the entire S-2 shop.
  9
          A. Yeah. The Rosario sounds familiar, but I           9
                                                                         Q. Okay. So is that a platoon, or what is
 10
      can't remember exactly what -- I know he was low         10
                                                                    that --
 11
      enlisted, but I'm not exactly sure what the rank was.    11
                                                                        A. It's a section, so --
 12
          Q. Okay. And does anything about the name or         12
                                                                         Q. How many people is that, approximately?
 13
      person sound familiar? Like, what do you remember        13
                                                                        A. I really don't -- I actually don't know
 14
      about him?                                               14
                                                                    how many personnel would be within the S-2 shop. I
 15
          A. I don't remember anything derogatory about        15
                                                                    know like the specific -- like the -- I guess the --
 16
      him for that way.                                        16
                                                                    the main people that would be there would be a
 17
          Q. Anything positive?                                17
                                                                    captain and -- E-7 or E-8 or something. Actually --
 18
          A. He was kind of just like he showed up and         18
                                                                    excuse me. E-7, N-2 IC, and then -- and a few other
 19
      did his job, and that was it. So nothing like stands     19
                                                                    NCOs, but the specifics on what exactly the numbers
 20
      out to me as far as for Rosario.                         20
                                                                    would be, I'm not sure.
 21
          Q. Okay. And for his position, that's a good         21
                                                                         Q. Is it more than ten?
 22
      thing. Right?                                            22
                                                                        A. Probably around ten, I would think.
 23
          A. Right.                                            23
                                                                         Q. And does that include -- that's including
 24
          Q. Richard Castleton? I believe he was a             24
                                                                    NCOs and --
 25
      sergeant.                                                25
                                                                        A. And soldiers, yeah.




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                                                                                                15 (Pages 54 to 57)
                                                             54                                                               56
  1
           Q. Now, is that something that there would be           1
                                                                       deployment?
  2
      records on, what section people were assigned to at a        2
                                                                           A. Multiple reasons. Personal issues,
  3
      given point in time?                                         3
                                                                       injuries. They're about to get out of the Army as an
  4
           A. For the rear detachment?                             4
                                                                       ETS, stuff like that.
  5
           Q. Yes.                                                 5
                                                                            Q. Do you recall the reason why Glen Hall
  6
           A. Okay. For the rear detachment. It may                6
                                                                       came back early from deployment?
  7
      be. I'm not exactly sure, but it might be. It would          7
                                                                           A. I don't remember, no.
  8
      be like call rosters, stuff like that. That's the            8
                                                                            Q. Is disciplinary problems while deployed a
  9
      only thing I could think of specifically.                    9
                                                                       reason to have them come back from deployment early?
 10
           Q. Okay. And, otherwise, you're just relying           10
                                                                           A. Yes. So if that person is about to get
 11
      on people's memories. Is that right?                        11
                                                                       chaptered, yeah, that could be a reason.
 12
           A. Yeah. Pretty much.                                  12
                                                                            Q. What do you mean by "chaptered"?
 13
           Q. Okay. Because it's not like rank and                13
                                                                           A. Like administrative leave, remove them
 14
      grade where it's something that shows up everywhere?        14
                                                                       from the Army.
 15
           A. No.                                                 15
                                                                            Q. Does "chaptered" ever mean anything less
 16
           Q. A few other names that maybe you know.              16
                                                                       than being removed from the Army?
 17
              Nicholas Arranyos?                                  17
                                                                           A. Anything less?
 18
           A. I can’t -- I'm not sure. I don't think              18
                                                                            Q. Like a less significant, nonjudicial
 19
      so, though.                                                 19
                                                                       punishment. Would that be something that someone
 20
           Q. Stephen Lloyd?                                      20
                                                                       might refer to as being chaptered?
 21
           A. Lloyd, Lloyd, Lloyd. Specialist or --               21
                                                                           A. Well, I mean, you could get chaptered in
 22
      does it say PFC? I'm not sure, but Lloyd sounds             22
                                                                       multiple different ways. There's -- you could be
 23
      familiar. So -- I’ve known a few Lloyds within the          23
                                                                       through UCMJ, or it could be through the med board
 24
      6-8. So I'm not sure --                                     24
                                                                       process, or it could be administrative leave remove
 25
           Q. What is the guy you're thinking of look             25
                                                                       them or, again, chaptered. Those are, like, the main


                                                             55                                                               57
  1
      like?                                                        1
                                                                       things.
  2
              A. Black dude, taller than me. That's the            2
                                                                            Q. Okay. Is being chaptered always
  3
      only thing I can really --                                   3
                                                                       involuntary, or does that include voluntary sort of
  4
              Q. Does about 6-foot sound right?                    4
                                                                       discharges as well?
  5
              A. Maybe. I'm not sure exactly, but he was           5
                                                                           A. Yes. It's both.
  6
      taller than me.                                              6
                                                                            Q. Last name -- it's -- I think just a last
  7
              Q. I think that's the guy. What do you               7
                                                                       name is all I have, is a Watson-Smokes?
  8
      remember about him?                                          8
                                                                           A. So that Watson-Smokes sounds familiar, but
  9
              A. Not a whole lot. He was -- I think he was         9
                                                                       I don't remember anything about that person.
 10
      on his way out of the Army when -- when I got there.        10
                                                                            Q. It's an unusual name. Correct?
 11
              Q. Do you know why?                                 11
                                                                           A. Exactly. So I remember hearing that, but
 12
              A. No. I'm not sure. Not that I can                 12
                                                                       I just don't know anything about that person.
 13
      remember.                                                   13
                                                                            Q. Okay. Could he have been someone who was
 14
              Q. Glen Hall?                                       14
                                                                       under your command?
 15
              A. Glen Hall. Oh, yeah, I remember that.            15
                                                                           A. Potentially. I'm not sure, though.
 16
              Q. Who was he?                                      16
                                                                            Q. Now I want to just talk a little bit more
 17
              A. He was -- I believe he came back early           17
                                                                       about supervision of soldiers. We talked a little
 18
      from the deployment. He was in the Rear D, one of           18
                                                                       bit about reporting and such.
 19
      the soldiers. I think he was a -- he was a fueler in        19
                                                                                 If you learned that a soldier was planning
 20
      the deployment, but I think he came back early as           20
                                                                       to become an active shooter at Fort Stewart, what
 21
      well.                                                       21
                                                                       would you do about that?
 22
              Q. So what does a fueler do?                        22
                                                                           A. So, I mean, that -- that -- I would
 23
              A. Fuel vehicles.                                   23
                                                                       probably call CID or the MPs, one of the two. Yeah.
 24
              Q. Exactly as it sounds.                            24
                                                                       More than likely, either CID or the MPs, one of the
 25
                Why would someone come back early from            25
                                                                       two I would be calling.




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                                                                                                   16 (Pages 58 to 61)
                                                              58                                                                60
  1
           Q. Okay. Is this something that, you know,               1
                                                                        to -- I really don't know on that one.
  2
      you receive training on as to what to do if a soldier         2
                                                                             Q. Okay. That's fine. It's not a test.
  3
      is presenting a danger to himself and other soldiers          3
                                                                                  Who would you go to to find out whether
  4
      like that?                                                    4
                                                                        you're under a duty to report something like that or
  5
           A. So, I mean, I don't think that we've,                 5
                                                                        to find out whether you're under -- whether someone
  6
      like, really received formal training on that. It's           6
                                                                        could be punished for failing to follow through on
  7
      more of as -- as things have happened in the Army,            7
                                                                        that duty?
  8
      we've started a -- kind of learned the process of             8
                                                                            A. Well, I would go to legal advisors.
  9
      what we need to do in order -- for certain things.            9
                                                                             Q. So that's a question of interpreting the
 10
           Q. Is this something that in 2011 you were              10
                                                                        UCMJ?
 11
      aware of what to do?                                         11
                                                                            A. Right. Right.
 12
           A. I guess, yes. I mean, if I knew something            12
                                                                             Q. So I'm going to ask you now about Chris
 13
      like that was happening, I would call the MPs or CID.        13
                                                                        Salmon a little bit more. Do you recall that he had
 14
           Q. And if soldiers -- you know, any other               14
                                                                        a disciplinary issue while you were in command?
 15
      soldier in the Army is aware of that, is that                15
                                                                            A. Yes. Once.
 16
      something where they should also be calling the MPs          16
                                                                             Q. What was that issue?
 17
      or CID?                                                      17
                                                                            A. He was basically -- he -- because when I
 18
           A. I mean, they could do -- they could that,            18
                                                                        came to become the rear detachment commander, at some
 19
      or they can go straight to their chain of command.           19
                                                                        point he -- he put in a voucher, a travel voucher
 20
           Q. So it's one or the other?                            20
                                                                        saying that he was deployed, but he never deployed.
 21
           A. Yes. And from there, it would be their               21
                                                                        So, yeah, I gave him some disciplinary action for
 22
      chain of command, like me calling CID, MPs.                  22
                                                                        that.
 23
           Q. Okay. So if a soldier hears another                  23
                                                                                 I don't remember exactly what, but --
 24
      soldier say, "I’ve mapped out the sewer system at            24
                                                                        I think it was Article 15. But I don't remember
 25
      Fort Stewart on how to get away from when I become an        25
                                                                        exactly what, though, but I do remember him doing


                                                              59                                                                61
  1
      active shooter there," is that something that that            1
                                                                        that, and he was punished because of it.
  2
      soldier has a duty to report, or can they just ignore         2
                                                                                Q. Do you remember what his punishment was?
  3
      it and see what happens?                                      3
                                                                                A. I don't remember exactly, no.
  4
          A. No. I mean, they have a duty to report                 4
                                                                                Q. Was he being chaptered out of the Army?
  5
      stuff like that.                                              5
                                                                                A. I don't remember on that one, because I
  6
           Q. And do you know where that duty comes                 6
                                                                        know he -- afterwards he started the chapter process.
  7
      from?                                                         7
                                                                        So that was at that point after the rear detachment
  8
          A. Just being a soldier. I mean, those are                8
                                                                        was done.
  9
      things you can take oath under.                               9
                                                                                Q. So after July 2005 --
 10
           Q. Okay. So the oath to protect and defend              10
                                                                                A. Right. After July he started going
 11
      the Constitution --                                          11
                                                                        through the chaptered process, yeah.
 12
          A. Right.                                                12
                                                                                Q. Try to wait for me to finish the question.
 13
           Q. -- that plays a part in reporting                    13
                                                                                A. Okay.
 14
      something of that nature?                                    14
                                                                                Q. Just want to try to make her life easier
 15
          A. Right.                                                15
                                                                        and this transcript clear.
 16
           Q. Would a soldier who fails to report                  16
                                                                                   So after July 2011 he began the chaptering
 17
      something like that potentially be in trouble for not        17
                                                                        out process is your understanding?
 18
      doing so if someone ended up getting hurt later?             18
                                                                                A. Yes.
 19
          A. I really don't know on that one. I can’t              19
                                                                                Q. Okay. And how did you come to have that
 20
      specifically answer. I'm not sure.                           20
                                                                        understanding?
 21
           Q. Okay. So you think there's a duty, but               21
                                                                                A. Because I was still in the unit, so I
 22
      it's not necessarily something that's punishable if          22
                                                                        would just see what -- kind of what's happening.
 23
      you don't follow through. Is that right?                     23
                                                                                Q. How long does that process typically take?
 24
          A. I don't know. I can’t really quite give               24
                                                                                A. It depends on -- really, it depends on a
 25
      you an answer on that because I'm not -- I would have        25
                                                                        whole lot of things. For UCMJ actions or




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                                                                                                 17 (Pages 62 to 65)
                                                            62                                                               64
  1
      administrative chapters, there's a lot of factors           1
                                                                            A. So they're talking about the same thing.
  2
      that goes into it.                                          2
                                                                            Q. It's just a technicality?
  3
           Q. And do you know the reasons why he was              3
                                                                            A. Right.
  4
      being chaptered out?                                        4
                                                                            Q. Do you recall what the amount was that he
  5
          A. I don't remember. And I'm thinking maybe             5
                                                                      had tried to get --
  6
      part of it was -- was that -- the whole travel              6
                                                                            A. No. I totally don't remember that one,
  7
      voucher thing.                                              7
                                                                      no.
  8
           Q. Do you know if the travel voucher incident          8
                                                                            Q. Was it a lot?
  9
      was reported to CID?                                        9
                                                                            A. I don't remember.
 10
          A. I don't remember. No, I don't remember.             10
                                                                            Q. Okay.
 11
           Q. When is sort of the decision? Or how do            11
                                                                            A. It was enough for me to say -- to, you
 12
      you decide whether to report something to CID or to        12
                                                                      know, have a -- some type of Article 15 on it, so --
 13
      just handle it internally?                                 13
                                                                            Q. Do you remember how he got caught?
 14
          A. So it depends. If it's -- let's say                 14
                                                                            A. I looked through all the vouchers as stuff
 15
      something that is SHARP related, sexual harassment,        15
                                                                      was getting processed, so that was how he got caught.
 16
      stuff like that, that I immediately take that to CID.      16
                                                                            Q. Okay.
 17
      And, of course, if it's a crime, that's something I        17
                                                                                 MS. JOHNSON: Is now an okay time
 18
      would report to CID or MPs.                                18
                                                                      for a break.
 19
           Q. Did you consider what Private Salmon did           19
                                                                                 MR. BROOK: Yeah. That would be a
 20
      to be a crime?                                             20
                                                                      great idea.
 21
          A. It's all kind of subjective. So, like, on           21
                                                                                 Let's go off the record.
 22
      this specific one, I don't remember if I actually          22
                                                                                      (Break.)
 23
      reported it to the MPs or CID or not, but I think for      23
                                                                                 (Exhibit 4 was marked.)
 24
      this one we actually just began the Article 15             24
                                                                            Q. (BY MR. BROOK) I'm showing you what's
 25
      process for him, gave him his UCMJ actions for what        25
                                                                      been marked as Exhibit 4. Do you recognize this


                                                            63                                                               65
  1
      he did.                                                     1
                                                                      document?
  2
           Q. Now, who would be able to say what the              2
                                                                            A. Uh-huh.
  3
      reasons were for him then being chaptered out after         3
                                                                            Q. Is that a yes?
  4
      July 2011?                                                  4
                                                                            A. Oh, yes. I'm sorry.
  5
          A. Whoever his -- the -- well, his commander            5
                                                                            Q. And what is this document?
  6
      at that time. So I don't remember what -- I think he        6
                                                                            A. So this was for Salmon, and it was a -- a
  7
      went to HHC, but I don't remember exactly what              7
                                                                      sworn statement for me writing saying that he did not
  8
      company he went -- he went back to.                         8
                                                                      deploy with the unit and his TUI was an unauthorized
  9
           Q. What does HHC stand for?                            9
                                                                      claim.
 10
          A. Headquarters and headquarters troop.                10
                                                                            Q. What does "TUI" mean?
 11
      Excuse me. So its's HHT.                                   11
                                                                            A. Oh, for -- say you filed a travel voucher
 12
           Q. HHT.                                               12
                                                                      after you return from a deployment, and his was
 13
          A. Yeah.                                               13
                                                                      unauthorized.
 14
           Q. So that's headquarters and headquarters            14
                                                                            Q. So TUI refers to travel voucher?
 15
      troop?                                                     15
                                                                            A. Well, temporary duty.
 16
          A. Right.                                              16
                                                                            Q. T -- this says TDY?
 17
           Q. What does HHC stand for?                           17
                                                                            A. Right. Right.
 18
          A. Company. The C is the company. Since we             18
                                                                            Q. Okay.
 19
      were in a squadron, everything is troop versus             19
                                                                            A. I was just saying the travel voucher
 20
      company.                                                   20
                                                                      specifically.
 21
           Q. So if someone said "HHC," they would have          21
                                                                            Q. And as far as you can tell, this document
 22
      been saying the wrong thing?                               22
                                                                      is accurate and complete?
 23
          A. Well, I mean, they would probably just say          23
                                                                            A. Yes. Yes.
 24
      it because they're used to saying HHC versus HHT.          24
                                                                            Q. So now I'd like to turn the conversation
 25
           Q. Right.                                             25
                                                                      to Private Isaac Aguigui. How Would you characterize




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                                                                                                 18 (Pages 66 to 69)
                                                              66                                                                68
  1
      him as a soldier?                                             1
                                                                        authority.
  2
          A. So I guess knowing -- what I know now,                 2
                                                                             Q. Okay. So before anything happened, you
  3
      it's a little different, but beforehand I didn't have         3
                                                                        would have to fill out a form, I guess, for an UCMJ
  4
      any issues -- well, let me take that back. As a               4
                                                                        action?
  5
      soldier, he wasn't bad, but he did do things that             5
                                                                             A. Right. Right.
  6
      caused him to get in trouble.                                 6
                                                                                  (Exhibit 5 was marked.)
  7
           Q. Do you recall what those things were?                 7
                                                                             Q. (BY MR. BROOK) So I'm going to show you
  8
          A. Yes. I mean, he would show up late                     8
                                                                        now what has been marked as Exhibit 5. Do you
  9
      multiple times. One day he peeled off of the parking          9
                                                                        recognize this document?
 10
      lot in his car. Those are some of the things that I          10
                                                                             A. Yep.
 11
      remember specifically.                                       11
                                                                             Q. What is this document?
 12
           Q. Why is peeling off in his car a problem?             12
                                                                             A. So this is the Article 15 that I gave for
 13
          A. Because that was because after -- that was            13
                                                                        Aguigui, I think. Yeah. Aguigui, yep. Company
 14
      after he received some type of disciplinary talking          14
                                                                        grade Article 15 for failure to report, reckless
 15
      to from an NCO about either coming up -- showing up          15
                                                                        driving, underage drinking.
 16
      late or something in that nature. I don't remember           16
                                                                             Q. And am I missing it, or is there no date
 17
      exactly what, but it was something in that -- in that        17
                                                                        on this form?
 18
      realm.                                                       18
                                                                             A. I don't see a date.
 19
           Q. Okay. And I guess one name I didn't                  19
                                                                             Q. Do you remember approximately when this
 20
      mention before, but I should, is Michael Roark. Do           20
                                                                        was?
 21
      you know that name?                                          21
                                                                             A. No. I don't remember the date on this
 22
          A. Yes. Yes.                                             22
                                                                        one.
 23
           Q. Was he under your command as well?                   23
                                                                             Q. Was it unusual for a soldier under your
 24
          A. I don't remember if he actually was                   24
                                                                        command to receive an Article 15?
 25
      because -- I'm pretty sure he was -- he was already          25
                                                                             A. I mean, it wasn't unusual, but in the rear


                                                              67                                                                69
  1
      out of the Army when I got there. But I know him              1
                                                                        detachment, a lot of guys are -- are troubled
  2
      just because of the obvious stuff that's happened.            2
                                                                        soldiers pretty much. That's -- a lot of guys in
  3
           Q. So you think he wasn't --                             3
                                                                        rear detachment would be soldiers that are having
  4
          A. I don't remember if he was or not. And if              4
                                                                        specific issues or, you know, on their way out of the
  5
      he was, he was like on his way out. I know he was --          5
                                                                        Army, yeah, like I was saying before.
  6
      he was out of the Army when I think that thing                6
                                                                              Q. So during your time in command of the rear
  7
      happened with him.                                            7
                                                                        detachment from April 2011 through July 2011, do you
  8
           Q. Right. You mean when he was killed?                   8
                                                                        recall how many of these forms you had to fill out?
  9
          A. Right.                                                 9
                                                                              A. No, I don't remember. No.
 10
           Q. Would it surprise you to know that he was            10
                                                                              Q. If you had to approximate, was it more
 11
      only discharged three days before he was killed?             11
                                                                        than five?
 12
          A. I don't think it would surprise me, but I             12
                                                                              A. I don't think it was that much.
 13
      just don't remember exactly, you know, when -- when          13
                                                                              Q. It would have been a handful?
 14
      he was killed.                                               14
                                                                              A. Yes.
 15
           Q. Now, were you personally involved in                 15
                                                                              Q. Do you recall any of the other
 16
      supervising him for any disciplinary issues?                 16
                                                                        individuals' names who you --
 17
          A. Roark?                                                17
                                                                              A. The only ones I could really remember was
 18
           Q. Yes.                                                 18
                                                                        Aguigui and Salmon. I don't remember any other ones
 19
          A. No, not that I know of.                               19
                                                                        that I can remember off the top of my head.
 20
           Q. Was it unusual for you to get involved in            20
                                                                              Q. So what is the difference between a
 21
      disciplinary issues for privates?                            21
                                                                        company grade Article 15 and a field grade Article
 22
          A. Well, I would have to just because I was              22
                                                                        15?
 23
      their rear detachment commander. So like every               23
                                                                              A. So company grade is typically handled at
 24
      disciplinary action, when it comes the UCMJ, it would        24
                                                                        the company commander's level, so -- which would be a
 25
      come up to me, and I would be, like, the signing             25
                                                                        captain, and then field grade would be handled at




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                                                                                               19 (Pages 70 to 73)
                                                              70                                                                72
  1
      higher levels with higher punishments. So it would            1
                                                                        in and somebody did it for me.
  2
      be O-5 level.                                                 2
                                                                             Q. Okay. But that is your signature on
  3
              Q. So what would the rank be for those                3
                                                                        there?
  4
      people, 0-5?                                                  4
                                                                            A. That is my signature, though.
  5
              A. Lieutenant colonel.                                5
                                                                             Q. Okay. And do you remember this field
  6
              Q. So in this case, that's your signature at          6
                                                                        grade Article 15?
  7
      the bottom of this, Exhibit 5. Is that right?                 7
                                                                            A. Yes. Yes. I don't remember the specifics
  8
           A. Yes.                                                  8
                                                                        on the field grade, but I do remember somewhat of
  9
              Q. And you didn't have to run that by anyone          9
                                                                        what the field grade was for, yeah.
 10
      else to issue this?                                          10
                                                                             Q. Would you explain what the summary of the
 11
              A. No, not for a company grade.                      11
                                                                        offenses means? And just maybe read it and then
 12
              Q. Do you recall what the punishment was that        12
                                                                        explain what it is.
 13
      was given to Aguigui?                                        13
                                                                            A. All right. So possession of a registered
 14
           A. I don't remember the punishment, no.                 14
                                                                        weapon on post.
 15
              Q. All right.                                        15
                                                                                 So, one, the reason why it was an
 16
                   (Exhibit 6 was marked.)                         16
                                                                        infraction was because, one, it was unregistered and
 17
              Q. (BY MR. BROOK) I'm going to show you what         17
                                                                        it was on post. So I mean, that's just -- he
 18
      has been marked Exhibit 6.                                   18
                                                                        violated the Army policy.
 19
                   MR. BROOK: And this is bearing                  19
                                                                             Q. And he also violated state law?
 20
      Bates No. JAHR0008443. And I'll just note for                20
                                                                            A. Yes. If it was -- I don't remember if it
 21
      the record that I think the other exhibits, just             21
                                                                        was unregistered -- well, if it was an unregistered
 22
      due to a printing error, the Bates number's cut              22
                                                                        weapon, yeah. So state law as well.
 23
      off at the bottom, and they were produced in a               23
                                                                             Q. Okay. Now, was there ever any discussion
 24
      similar range by the government.                             24
                                                                        about reporting this to state authorities or anything
 25
              Q. (BY MR. BROOK) Do you recognize this              25
                                                                        like that?


                                                              71                                                                73
  1
      document, sir?                                                1
                                                                            A. I don't remember if this went to the MPs
  2
          A. Yes.                                                   2
                                                                        or CID. I'm sure it probably did because
  3
           Q. And what is this?                                     3
                                                                        specifically on this type of thing, it -- the MPs are
  4
          A. So this is a field grade for Aguigui.                  4
                                                                        likely informed, especially with the discharge on the
  5
           Q. Okay. And this -- do you recall whether               5
                                                                        firearm, because I think I remember that one, and I
  6
      this was before or after the company grade?                   6
                                                                        think that happened at his home, I believe.
  7
          A. I'm sure this was after the company grade.             7
                                                                             Q. Okay. And so that's the second offense on
  8
           Q. Okay. And let me ask you this. If you                 8
                                                                        there. Right?
  9
      look at Exhibit 5 and Exhibit 6, unless I am                  9
                                                                            A. Yeah.
 10
      mistaken, it's different handwriting. Is that right?         10
                                                                             Q. And what does it mean to be discharging
 11
          A. For?                                                  11
                                                                        firearm through negligence?
 12
           Q. For all of it. Or am I not correct on                12
                                                                            A. Because I think what happened there was,
 13
      that?                                                        13
                                                                        if I could remember right, they were in their living
 14
          A. Oh, you're talking about at the bottom?               14
                                                                        room or something, messing with the gun, and he had
 15
      Yeah.                                                        15
                                                                        neglect discharge it. He shot it on accident.
 16
           Q. I mean -- let me ask you this, then. Is              16
                                                                             Q. Do you know if anyone was hurt?
 17
      this your handwriting on --                                  17
                                                                            A. I don't think so.
 18
          A. So this one -- this right here is my                  18
                                                                             Q. And what about the third offense there?
 19
      handwriting. This is my signature.                           19
                                                                            A. I think -- I don't remember exactly what
 20
           Q. What are you pointing at?                            20
                                                                        the controlled substance was. It may have been -- I
 21
          A. Oh, okay. Exhibit 5. So that is my                    21
                                                                        can only think of two things it could have been. It
 22
      handwriting on the bottom where I wrote in my name.          22
                                                                        could have either been spice or marijuana, but I
 23
      And then the second one on Exhibit 6, that's my              23
                                                                        don't remember which one.
 24
      signature block. That's not my handwriting there.            24
                                                                             Q. Were both illegal?
 25
      But I'm sure it's because I probably forgot to put it        25
                                                                            A. Right. Yes.




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                                                                                               20 (Pages 74 to 77)
                                                             74                                                                76
  1
           Q. And what is spice?                                   1
                                                                              A. I don't remember, no.
  2
           A. It's -- hmm. It's hard to explain what               2
                                                                              Q. Did you ever see any statements that
  3
      spice is. But it's -- basically it's like a                  3
                                                                       Aguigui gave in writing to CID?
  4
      potpourri kind of type stuff, and soldiers will smoke        4
                                                                              A. I don't remember. I probably did, but I
  5
      it, basically, and get high off of it, so -- and it          5
                                                                       don't remember.
  6
      was illegal. Or it is illegal. You can't have                6
                                                                              Q. Why don't we look at one of those and see
  7
      spice.                                                       7
                                                                       if it refreshes your recollection.
  8
           Q. Okay. And it was your understanding at               8
                                                                                 I'm marking this as Exhibit 7.
  9
      the time that that was also -- that at the time you          9
                                                                                   (Exhibit 7 was marked.)
 10
      also understood that it was illegal?                        10
                                                                              Q. (BY MR. BROOK) And what's been marked as
 11
           A. Right.                                              11
                                                                       Exhibit 7 is bearing Bates Nos. JAHR0021180 through
 12
           Q. And was it a violation of the UCMJ for              12
                                                                       JAHR0021183, four pages, and it's described as a
 13
      Aguigui to possess it?                                      13
                                                                       sworn statement for official use only, law
 14
           A. Oh, yes.                                            14
                                                                       enforcement sensitive, statement of Isaac Aguigui.
 15
           Q. Okay. At the time were you aware of                 15
                                                                                 Have you seen this document before, sir?
 16
      whether or not Aguigui had other incidents where he         16
                                                                              A. I'm not sure if I have or not.
 17
      had been using spice?                                       17
                                                                              Q. Why don't you take a moment and read
 18
           A. Not that I can remember.                            18
                                                                       through it, and then let me know when you're done.
 19
           Q. Was it typical practice when you were in            19
                                                                              A. So I remember the situation, but I don't
 20
      command of the rear detachment that if someone had an       20
                                                                       remember if I’ve seen this actual report before.
 21
      issue with CID that was being investigated by CID,          21
                                                                              Q. Do you need more time to look through it
 22
      that CID would share information with you about what        22
                                                                       or --
 23
      was going on and what they learned?                         23
                                                                                   MS. JOHNSON: Are you going to ask
 24
           A. So CID typically would say, "Hey, this is           24
                                                                       him specific questions about the content?
 25
      what is going on." And then from there they would           25
                                                                                   MR. BROOK: I'm going to ask him


                                                             75                                                                77
  1
      conduct their investigation, and at the very end,            1
                                                                       more about just what happened and may refer him
  2
      they'll come back and tell us -- they'll either give         2
                                                                       to this if there is a question about it. Just
  3
      us a document or they'll tell us what their actual           3
                                                                       what he remembers. So I'll ask my question, and
  4
      findings were. And then from there -- it depends on          4
                                                                       why don't we see.
  5
      what the situation was. And then from there,                 5
                                                                            Q. (BY MR. BROOK) Captain, do you recall
  6
      they'll -- they'll either let us know if they're             6
                                                                       whether you were informed about the fact that Aguigui
  7
      taking a soldier or apprehending a soldier or what           7
                                                                       had informed CID that he had been regularly using
  8
      have you, or if it could be solved at our level.             8
                                                                       spice?
  9
      They may push it to the chain of commander to handle         9
                                                                           A. Man. Yeah, I don't think I remember
 10
      the situation at their level.                               10
                                                                       specifically.
 11
           Q. Would they ever report information to you           11
                                                                            Q. Do you recall whether Aguigui was referred
 12
      before they'd completed their investigation?                12
                                                                       to the substance abuse program?
 13
          A. They would -- they would call and let us             13
                                                                           A. I would say he probably was. I don't
 14
      know, "Hey, this is what's going on." But as far as,        14
                                                                       remember if he -- if he was actually enrolled, but he
 15
      like, completing an investigation or, like, going           15
                                                                       probably was enrolled in ASAP.
 16
      really into the specifics, they typically don't tell        16
                                                                            Q. Were a lot of the soldiers in rear D
 17
      us until they're either almost complete or if they          17
                                                                       enrolled in ASAP?
 18
      need some extra information.                                18
                                                                           A. Well, if they were -- if they had a
 19
           Q. Do you recall receiving any calls from CID          19
                                                                       substance abuse issue, they would be in ASAP.
 20
      about Isaac Aguigui?                                        20
                                                                            Q. So at the time that you issued your field
 21
          A. I don't recall any specific phone calls,             21
                                                                       grade Article 15 for Isaac Aguigui, were you aware at
 22
      but I'm sure I did.                                         22
                                                                       the time of whether or not he was already in ASAP?
 23
           Q. Do you remember what it was that CID was            23
                                                                           A. I don't remember.
 24
      investigating Aguigui for while he was under your           24
                                                                            Q. Would that have been a factor that you
 25
      command?                                                    25
                                                                       needed to take into consideration?




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                                                                                            21 (Pages 78 to 81)
                                                              78                                                          80
  1
          A. If he was already in ASAP and then he had              1
                                                                        soldier with respect to the substance of that
  2
      this substance abuse issue, that would probably play          2
                                                                        investigation?
  3
      a factor into why I gave him a field grade, except            3
                                                                             A. Well, I can’t interfere with what they're
  4
      for the -- I mean, aside from the charges being               4
                                                                        doing with the investigation. So that's -- yeah,
  5
      actually pretty significant.                                  5
                                                                        it's all CID at that point.
  6
             If it was just -- let's say, just the                  6
                                                                              Q. Okay. Do you know whether Private Aguigui
  7
      wrongful possession and then I gave him a field grade         7
                                                                        was reassigned because of any of the CID
  8
      because he, like, failed out of ASAP or something, so         8
                                                                        investigations into him?
  9
      he'd be -- because it would be like a second offense,         9
                                                                             A. No, I don't think he -- I don't think he
 10
      that kind of thing.                                          10
                                                                        was reassigned. He was in our -- in our rear
 11
           Q. Did you know at the time and when you were           11
                                                                        detachment.
 12
      in command of Isaac Aguigui in issuing two Article           12
                                                                              Q. Okay. Do you know if at some point
 13
      15s that he had signed a sworn statement to CID that         13
                                                                        Private Aguigui was demoted?
 14
      he had plotted with fellow soldiers to kill a                14
                                                                             A. I believe he was demoted after the field
 15
      civilian drug dealer and even bought a shotgun for           15
                                                                        grade Article 15.
 16
      the purpose of doing so?                                     16
                                                                              Q. Do you know what other punishment he was
 17
          A. Yeah, no. I didn't -- I don't really                  17
                                                                        given because of field grade Article 15?
 18
      remember the CID, like, conversations specifically.          18
                                                                             A. So likely, I mean, he was probably
 19
      But, I mean, I have been informed that he did talk           19
                                                                        confined to post. I don't remember the exact, so
 20
      about this, so -- I just don't remember.                     20
                                                                        more likely it was pay, confined to post,
 21
           Q. Okay. So you think that you were made                21
                                                                        restrictions, stuff like that. Extra duty.
 22
      aware of this?                                               22
                                                                              Q. And were you ever, as far as you can
 23
          A. I'm sure I probably was, but I just --                23
                                                                        recall, briefed on Isaac Aguigui's history at West
 24
      yeah, I don't remember on this one.                          24
                                                                        Point Academy?
 25
           Q. Okay. So is there any sort of record or              25
                                                                             A. No. I don't think I -- I don't think I


                                                              79                                                          81
  1
      log or anything that you may have kept that would             1
                                                                        knew he went to West Point. I'm just trying to
  2
      indicate whether or not you had been informed about           2
                                                                        think.
  3
      this conspiracy to commit murder situation?                   3
                                                                              Q. I believe it was the -- what is it called?
  4
          A. No. There wouldn't have been no, like,                 4
                                                                        The US MAPS? It's the Military Academy Preparatory
  5
      documents I would have kept or nothing like that.             5
                                                                        School. Are you familiar with that?
  6
           Q. In your opinion, is it appropriate conduct            6
                                                                             A. Well, West Point, yes. I'm familiar with
  7
      for a soldier, even one in rear D, to do what Isaac           7
                                                                        West Point, yeah.
  8
      Aguigui says that he did in this sworn statement?             8
                                                                              Q. So I think, if I'm not mistaken, US MAPS
  9
          A. No, that's not appropriate behavior for                9
                                                                        is sort of a pre-West Point program of sorts. Is
 10
      anybody.                                                     10
                                                                        that consistent with your understanding?
 11
           Q. In your opinion, what should happen to a             11
                                                                             A. Yes, sir.
 12
      soldier who has said that he was working with two            12
                                                                              Q. So is -- so you were not aware that he
 13
      other soldiers to kill a drug dealer and take their          13
                                                                        attended that or was kicked out of that?
 14
      money?                                                       14
                                                                             A. I don't really remember on that one. I
 15
          A. Well -- so, I mean, at that point it's
                                                                   15
                                                                        don't think so. I don't think I knew.
 16
      really -- again, it's CID, MPs -- this stuff would be
                                                                   16
                                                                              Q. If you had known that he had been kicked
 17
      reported to them and for them to actually figure out
                                                                   17
                                                                        out of West Point, say -- I'm not trying to testify
 18
      what we're going to do with these guys. Because, I
                                                                   18
                                                                        here, but I'm just saying -- if you had known that he
 19
      mean, they would -- this is kind of in their hands.
                                                                   19
                                                                        had been kicked out of West Point for threatening the
 20
      This is -- if it's criminal offenses like this, this
                                                                   20
                                                                        lives of two fellow cadets, would that be something
 21
      isn't in like a company commander's hands, you know,
                                                                   21
                                                                        that would have factored into your decision about how
 22
      or -- this is more of working with CID and MPs and --
                                                                   22
                                                                        to punish him?
 23
      and getting to the bottom of what's going on here.
                                                                   23
                                                                             A. I don't think so. I think it would be
 24
           Q. Now -- so until CID finishes its
                                                                   24
                                                                        all -- again, this is subjective on the situation, so
 25
      investigation, are you allowed to do anything to the
                                                                   25
                                                                        it depends on what the situation is.




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                                                                                                   22 (Pages 82 to 85)
                                                              82                                                                 84
  1
             Now, what he's done in the past, it's a                1
                                                                                 Q. So why did you go to the funeral?
  2
      little different from what's currently happening.             2
                                                                                A. Because it's one of my soldier's spouses,
  3
           Q. But isn't it true that what's happened in             3
                                                                        so I went.
  4
      the past is sort of relevant for -- very relevant,            4
                                                                                 Q. Did you ever socialize with Private
  5
      actually, for figuring out whether there is a pattern         5
                                                                        Aguigui?
  6
      of misconduct?                                                6
                                                                                A. I guess just because he's -- was in an S-2
  7
          A. Uh-huh. Yeah. And I think that's why we                7
                                                                        shop and he was around, so I probably talked to him
  8
      gave him company grade and then gave him a field              8
                                                                        here and there.
  9
      grade, because it's a pattern of misconduct.                  9
                                                                                 Q. Did you ever see Private Aguigui off base?
 10
           Q. So after having received two Article 15s,            10
                                                                                A. No.
 11
      a company grade and then a field grade, was it even          11
                                                                                 Q. What were your impressions of him, just
 12
      more important then to keep track of whether Aguigui         12
                                                                        socially?
 13
      was continuing to commit misconduct?                         13
                                                                                A. Socially? I mean, I didn't really
 14
          A. So I think -- if I can remember right, I              14
                                                                        socially, I guess, talk to him. I mean, he was just
 15
      think after the field grade -- I'm trying to                 15
                                                                        a soldier in the company. If I talked to him, it
 16
      remember. After the field grade, I think we were             16
                                                                        would be like "Hey, how you doing?" And that's
 17
      beginning to start the process of getting him out of         17
                                                                        really about it.
 18
      the Army.                                                    18
                                                                                 Q. And did you ever sit down with him in
 19
             So, I mean, at that point, yes, he's                  19
                                                                        connection with these Article 15s?
 20
      monitored more because he's likely on restriction and        20
                                                                                A. I'm sure I did to -- to read them his
 21
      a lot of stuff like that, so -- and I think at the           21
                                                                        Article 15 or tell him about what he's doing, I'm
 22
      time his wife was pregnant. So there's certain               22
                                                                        sure. I'm sure I did. I don't remember
 23
      things that we have to, you know, kind of let him --         23
                                                                        specifically.
 24
      let him do because his wife was pregnant.                    24
                                                                                 Q. Let me ask you a question about
 25
           Q. So there was a little bit more leeway that           25
                                                                        developmental counseling forms. Those are done by


                                                              83                                                                 85
  1
      was cut for him because of the situation he was in?           1
                                                                        the first line supervisor for a private?
  2
          A. Not necessarily, no.                                   2
                                                                                A. Yes.
  3
           Q. Now, I'm not sure. Was he under your                  3
                                                                                Q. So would you review those in deciding what
  4
      command when his wife died?                                   4
                                                                        to do with the Article 15s?
  5
          A. If you tell me the date, I could tell you.             5
                                                                                A. Well -- so the -- the counseling
  6
           Q. July 17th, 2011.                                      6
                                                                        statements, those are -- those are all at that chain
  7
          A. I can’t really tell you specifically                   7
                                                                        of command. So if that NCO gave a soldier a
  8
      because that's like the -- that rough buffer between          8
                                                                        counseling, that's within that soldier's counseling
  9
      everybody coming back and then me, like, not doing --         9
                                                                        file.
 10
      or not being in the rear detachment anymore. So I            10
                                                                                  The only time I would see the counselings
 11
      don't remember the exact time when -- when I no              11
                                                                        is if stuff like this happened, like Article 15
 12
      longer was the rear detachment commander.                    12
                                                                        needed to be recommended and they would then get all
 13
           Q. Okay. So --                                          13
                                                                        those negative counseling statements together so that
 14
          A. I do remember going to -- I did go to the             14
                                                                        they could be presented for an Article 15.
 15
      funeral. Sorry.                                              15
                                                                                Q. Now, are those prior -- are counseling
 16
           Q. You did.                                             16
                                                                        statements available to the first line supervisor?
 17
          A. Yeah.                                                 17
                                                                        You know, say if like it changes. Like, one guy is
 18
           Q. And was Deirdre Aguigui under your                   18
                                                                        the first line supervisor, and then, you know, when
 19
      command?                                                     19
                                                                        the troops came back, it became someone else. Would
 20
          A. No.                                                   20
                                                                        the second person be able to look back at that file
 21
           Q. Was it a big funeral?                                21
                                                                        to see what the history was, or would they just have
 22
          A. It was a small one. It was just some                  22
                                                                        to make decisions about --
 23
      family out there.                                            23
                                                                                A. So typically when -- when people change
 24
           Q. Did you know her?                                    24
                                                                        positions, they would do a hand-over of some sort.
 25
          A. No.                                                   25
                                                                        So, yes, they would do some type of hand-over, but




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                                                                                                 23 (Pages 86 to 89)
                                                              86                                                               88
  1
      they would talk to each other and say, "Hey, these            1
                                                                        out now, but --
  2
      are my problem soldiers. These are my stellar                 2
                                                                             Q. I think he's at Fort Leavenworth, so I
  3
      soldiers. These are the files," and then that's it.           3
                                                                        think that means he's not. Is that right, if
  4
      And some type of continuity book, something like              4
                                                                        you're --
  5
      that.                                                         5
                                                                            A. I'm not sure on that one.
  6
           Q. Now, if a counseling form says that, for              6
                                                                             Q. I guess that's one of those things you
  7
      example, "You are not to consume alcohol, and if you          7
                                                                        don't want to have to find out.
  8
      consume alcohol, you will be kicked out of the Army,"         8
                                                                            A. Yeah.
  9
      is that something that's binding like the -- if the           9
                                                                             Q. So in Aguigui's case, obviously, then, the
 10
      person is later found to have consumed alcohol or            10
                                                                        chaptering process took more than 90 days. Correct?
 11
      something similar to that?                                   11
                                                                            A. Likely, yes.
 12
          A. Well, I mean -- so 600-20 says if a                   12
                                                                             Q. And do you recall why?
 13
      soldier is -- as far as, like, substance abuse, if           13
                                                                            A. I'm not sure exactly why. I think -- this
 14
      they drink and they're violating substance -- excuse         14
                                                                        field grade, I'm not exactly sure when it happened.
 15
      me -- substance abuse or what have you, that you             15
                                                                        So, I mean, whenever it happened, I'm sure there was
 16
      would have to recommend Article 15 or -- it might be         16
                                                                        that time in between where we were trying to chapter
 17
      chapter. One of the two.                                     17
                                                                        him out.
 18
           Q. Okay. And your recollection is that the              18
                                                                             Q. Do you recall whether he was resisting
 19
      process of chaptering Aguigui out of the Army did            19
                                                                        being chaptered out?
 20
      begin under command?                                         20
                                                                            A. Not that I remember, no.
 21
          A. I believe it did, yeah. And I think it                21
                                                                             Q. Which chapter was the basis for his
 22
      was after this field grade.                                  22
                                                                        separation?
 23
           Q. And how did that begin? What was the                 23
                                                                            A. I don't remember. I'm not exactly sure on
 24
      first step in the process?                                   24
                                                                        that one. What is on this thing?
 25
          A. Well, the field grade was -- well,                    25
                                                                             Q. Is that something where there would be


                                                              87                                                               89
  1
      actually, the company grade was the first -- the              1
                                                                        records of what the chapter was?
  2
      first step in the process. Then you go to the field           2
                                                                            A. It may be, but I'm not sure.
  3
      grade, and at that point it's -- soldier needs --             3
                                                                             Q. Can you think of anything, you know,
  4
      soldier is no longer benefiting the Army.                     4
                                                                        somewhere where a document had to be filed or a form
  5
           Q. Okay. So how long does the process of                 5
                                                                        that was filed in order to start -- you know, in
  6
      chaptering someone out typically take?                        6
                                                                        order to push the chaptering process along?
  7
          A. It really depends on -- on the chapter,                7
                                                                            A. Yes. I mean, I guess administratively,
  8
      and then it could go anywhere from -- I don't know --         8
                                                                        there is likely some form of documents, but do I have
  9
      ten days all the way to 90 days. So, I mean -- or --          9
                                                                        it? No.
 10
      or longer. It just depends on -- on the chapter.             10
                                                                             Q. Right.
 11
           Q. And what do you mean by that, "depends on            11
                                                                            A. Yeah.
 12
      the chapter"?                                                12
                                                                             Q. Can you think of who would have that if
 13
          A. Depends on the type of chapter. Like,                 13
                                                                        there was an administrative form?
 14
      there's different types of soldiers getting in and           14
                                                                            A. The unit.
 15
      out -- I mean, it could be chapters because of               15
                                                                             Q. What is a flag when put on someone's
 16
      substance abuse or for misconduct, stuff like that.          16
                                                                        personnel file?
 17
      So it's just different ways to be chaptered out of           17
                                                                            A. So when a soldier is -- has done something
 18
      the Army.                                                    18
                                                                        that causes him to get flagged, basically what it is
 19
           Q. Okay. And do you recall how long it took             19
                                                                        is it prevents favorable actions. So he can no
 20
      to chapter Aguigui out of the Army?                          20
                                                                        longer, like, receive good conduct medals, they can't
 21
          A. I think he was still in when everything               21
                                                                        get promoted, stuff like that.
 22
      happened. I'm not -- I'm not sure exactly, yeah.             22
                                                                                    (Exhibit 8 was marked.)
 23
           Q. Right. So --                                         23
                                                                             Q. (BY MR. BROOK) I'm going to show you
 24
          A. I don't think he was ever actually                    24
                                                                        what's been marked as Exhibit 8.
 25
      chaptered. I'm sure he might be -- he probably is            25
                                                                                    MR. BROOK: This is Bates-stamped




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                                                                                           24 (Pages 90 to 93)
                                                        90                                                                92
  1
      JAHR0008454.                                             1
                                                                   Aguigui out.
  2
           Q. (BY MR. BROOK) Do you recognize this             2
                                                                       A. Right. So, I mean, it starts with the
  3
      document?                                                3
                                                                   company grade, field grade Article 15.
  4
           A. Yes. It is a flag.                               4
                                                                        Q. Okay.
  5
           Q. It's called a report to suspend favorable        5
                                                                       A. So that's like the -- you're taking the
  6
      personnel actions?                                       6
                                                                   steps to prepare to get the soldier out of the Army.
  7
           A. Uh-huh.                                          7
                                                                        Q. Now, once the steps begin, though, does
  8
           Q. And is this one that you authorized?             8
                                                                   that mean that the person might not leave the Army?
  9
           A. Yes.                                             9
                                                                   They might correct their behavior and --
 10
           Q. And the date on there, 2011, 07/01, that's      10
                                                                       A. I mean, it's a possibility, yeah.
 11
      July 7th, 2011. Correct? Or --                          11
                                                                        Q. Is that common?
 12
           A. July 1st.                                       12
                                                                       A. I won't say it's common, but it can
 13
           Q. July 1st. I'm sorry.                            13
                                                                   happen.
 14
              And do you recall whether this was before       14
                                                                        Q. Do you recall any specific instance where
 15
      or after the field grade chapter?                       15
                                                                   that happened at Fort Stewart?
 16
           A. This is -- I'm going to say it was              16
                                                                       A. I can’t recall an instance, no.
 17
      probably in concurrent with it because he was           17
                                                                        Q. Okay. So as far as you can recall, the
 18
      flagged, so then -- because he -- because he got a      18
                                                                   intention was to have both Isaac Aguigui and
 19
      field grade Article 15, he was likely being flagged     19
                                                                   Christopher Salmon out of the Army. Is that right?
 20
      because of it.                                          20
                                                                       A. Salmon, not so much because, I mean, I
 21
           Q. And what does that mean to -- under             21
                                                                   didn't -- the only adverse action I've actually given
 22
      Section 2, the box that's checked is "Adverse           22
                                                                   to Salmon was that -- the travel voucher incident.
 23
      Action"?                                                23
                                                                   So aside from that, I didn't have any issues with
 24
           A. This is the adverse action.                     24
                                                                   Salmon.
 25
           Q. Is the field grade Article 15?                  25
                                                                          Now, Aguigui, he -- he had a little more


                                                        91                                                                93
  1
            A. Yeah.                                           1
                                                                   on his -- on his -- under his belt as far as issues.
  2
            Q. And there's nothing else that that              2
                                                                   So a chapter was -- was definitely in the works for
  3
      connotes?                                                3
                                                                   him just because of the benefit -- he was -- there
  4
            A. Yeah, this is it. It's the field grade          4
                                                                   was no benefit for him being in the Army. The Army
  5
      Article 15.                                              5
                                                                   was not being helped with Aguigui in the Army.
  6
            Q. Now, would this form indicate whether or        6
                                                                       Q. And did you have any interaction or
  7
      not the soldier's being chaptered out?                   7
                                                                   involvement with Aguigui or any of his supervisors
  8
            A. I don't think so, no.                           8
                                                                   about Aguigui after July of 2011?
  9
            Q. Do you know what the form is, if there is       9
                                                                       A. Likely, yeah.
 10
      another form administratively that has to be filed to   10
                                                                        Q. Do you recall anything specifically?
 11
      do the chaptering process?                              11
                                                                       A. No. No. But likely, yes, I would -- more
 12
            A. There is another form, but I'm not sure.       12
                                                                   than likely, if it involves Aguigui, some of this
 13
      I don't remember the form number or nothing like        13
                                                                   stuff was probably talked about. I don't know.
 14
      that.                                                   14
                                                                        Q. Do you recall whether you knew that he was
 15
            Q. Is that a form that you remember filling       15
                                                                   being investigated for murdering his wife?
 16
      out for Aguigui, though?                                16
                                                                       A. So that part -- I do remember that. We
 17
            A. No, I don't remember.                          17
                                                                   wasn't sure on that just because -- I mean, we don't
 18
            Q. Do you remember filling it out for Salmon?     18
                                                                   know if he murdered his wife. The reports that came
 19
            A. No, no. Because I didn't chapter Salmon.       19
                                                                   out was -- was that she had a blood clot.
 20
      Or I didn't chapter Aguigui.                            20
                                                                        Q. So who gave the report that she had had a
 21
            Q. You didn't chapter Aguigui?                    21
                                                                   blood clot?
 22
            A. No, I didn't chapter -- those guys were        22
                                                                       A. I don't remember it specifically, no.
 23
      still in the Army when I left.                          23
                                                                       Q. But that was your understanding?
 24
            Q. Okay. So it was the -- but I thought           24
                                                                       A. Yeah, that was my understanding, was that
 25
      you'd said that the process was beginning to chapter    25
                                                                   she had a blood clot.




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                                                                                              25 (Pages 94 to 97)
                                                              94                                                               96
  1
          Q. Okay. Do you recall discussing that with               1
                                                                            Q. And what did you hear about that?
  2
      anyone in particular?                                         2
                                                                            A. I mean, I -- not a whole lot. Aside from
  3
          A. Probably -- probably Sergeant Braudis, my              3
                                                                        after everything happened, I found out what -- what
  4
      NCYC.                                                         4
                                                                        it was used for. But before that, beforehand, it was
  5
          Q. How do you spell that?                                 5
                                                                        just to take care of funeral arrangements and stuff.
  6
          A. B-R-A-U-D-I-S.                                         6
                                                                            Q. Now -- so when did you first learn about
  7
          Q. Now, is this something where it was sort               7
                                                                        what Aguigui was actually doing with the money?
  8
      of a topic of gossip at the base about the whole              8
                                                                            A. I think when I saw it on the news. Yeah.
  9
      Deirdre Aguigui investigation?                                9
                                                                            Q. So in December 2011?
 10
          A. I'm not going to say it was gossip, but, I            10
                                                                            A. Yeah. Whenever it was on the news is when
 11
      mean, like as the commander and the NCYC of the rear         11
                                                                        we found out, like, hey, this is the stuff that was
 12
      detachment, you kind of got to figure out what's             12
                                                                        going on.
 13
      somewhat going on, like what happened to the wife.           13
                                                                            Q. Now, when you found out this -- that was
 14
      You're like, "All right. Well, she had a blood               14
                                                                        what was going on, were you surprised?
 15
      clot," you know. And then from there, you kind of            15
                                                                            A. Yes. Very surprised.
 16
      take the steps to make sure the soldier's okay, you          16
                                                                            Q. Why was that?
 17
      know, and then make sure the wife is taken care as           17
                                                                            A. I had no clue. Didn't know that stuff was
 18
      far as like funeral arrangements and stuff like that         18
                                                                        happening.
 19
      and that Aguigui is taking care of those things. So          19
                                                                            Q. So do you know how many people at the end
 20
      that's what myself and Sergeant Braudis was doing.           20
                                                                        of the day who were under your command who ended up
 21
          Q. So did you ever talk with Private Aguigui             21
                                                                        being convicted of a crime?
 22
      about his wife having died?                                  22
                                                                            A. So I was only tracking four. Those four
 23
          A. Oh, yes, I'm sure I did. I mean, just not             23
                                                                        dudes.
 24
      -- of course, we didn't know about all the stuff that        24
                                                                            Q. Did you follow at all the other
 25
      happened, but before then, you know, it's just               25
                                                                        convictions? There were, I think, seven other people


                                                              95                                                               97
  1
      typical remorse stuff. "Hey, sorry about your wife            1
                                                                        who were ultimately convicted by the State of
  2
      dying," and talking to the soldier about his morale           2
                                                                        Georgia.
  3
      and stuff like that.                                          3
                                                                             A. No. I'm not sure who the other guys are.
  4
           Q. Now, did you have any involvement at all              4
                                                                             Q. Did you ever get interviewed by any
  5
      in his receiving death benefits or life insurance             5
                                                                        investigative agency?
  6
      benefits?                                                     6
                                                                             A. No.
  7
           A. I don't remember. I'm sure I pulled his               7
                                                                             Q. Would you have remembered it if you had
  8
      SGLI to make sure he had SGLI or something.                   8
                                                                        been interviewed by an investigative agency?
  9
           Q. Do you recall what the amounts were --                9
                                                                             A. I think so. I don't remember being
 10
           A. No.                                                  10
                                                                        interviewed, but yeah.
 11
           Q. -- or whether he got paid?                           11
                                                                             Q. Is that something that would be a
 12
           A. No. Now, I guess I recall the amounts,
                                                                   12
                                                                        memorable event for you?
 13
      yes, because I believe he had the full SGLI benefits.
                                                                   13
                                                                             A. I think so, yeah.
 14
           Q. So what was the amount?
                                                                   14
                                                                             Q. You'd be surprised.
 15
           A. 400,000.
                                                                   15
                                                                                So do you recall -- you mentioned before
 16
           Q. And are there other payments that are made
                                                                   16
                                                                        that CID had some conversations with you about
 17
      in addition to the SGLI benefit?
                                                                   17
                                                                        Private Aguigui. Did they talk with you about the
 18
           A. I think -- of, for the spouse, yeah. So
                                                                   18
                                                                        investigation that we were talking about earlier
 19
      this is just typical or general -- general stuff is
                                                                   19
                                                                        regarding the drug dealer and spice and such, or was
 20
      that -- general knowledge stuff is the wife will get
                                                                   20
                                                                        it about the investigation into him because of his
 21
      100,000, you know, if the wife dies or the soldier
                                                                   21
                                                                        wife's death?
 22
      dies or something like that.
                                                                   22
                                                                             A. I'm thinking it was about the whole -- the
 23
           Q. And did you ever hear about Private
                                                                   23
                                                                        other thing, the spice thing. So I don't remember
 24
      Aguigui actually receiving this money?
                                                                   24
                                                                        exactly specific on that, yeah.
 25
           A. Yes.
                                                                   25
                                                                             Q. And were you ever told that Aguigui had




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                                                                                          26 (Pages 98 to 101)
                                                        98                                                                 100
  1
      admitted to using spice on a regular basis?              1
                                                                   supervising?
  2
           A. Not that I remember.                             2
                                                                       A. I have no clue why, no.
  3
            Q. Were you ever told that he used had             3
                                                                        Q. Can you think of any illegitimate reasons
  4
      cocaine while on active duty?                            4
                                                                   why an NCO would receive money from a soldier he's
  5
           A. No, not that I remember.                         5
                                                                   supervising?
  6
            Q. And what about that he had sold marijuana?      6
                                                                       A. I don't know.
  7
           A. Not that I remember, no.                         7
                                                                        Q. You just don't think that way. Right?
  8
            Q. Now, based upon having later been totally       8
                                                                       A. No.
  9
      shocked by the news of this group of, you know,          9
                                                                        Q. That's fine.
 10
      misfit soldiers underneath your command at one point    10
                                                                           For a soldier with a top-secret security
 11
      in time, have you done anything differently since       11
                                                                   clearance, is it important that that soldier not have
 12
      then to try to make sure that something like that       12
                                                                   a drug abuse problem?
 13
      never happens again?                                    13
                                                                       A. I guess you'd say yes. But I'm sure when
 14
           A. No, I don't think so, because I think we        14
                                                                   the soldier's TS is given, stuff like that -- stuff
 15
      did the corrective actions to -- to ensure that         15
                                                                   happens to people, so it's a little different.
 16
      soldier -- we were doing the right thing, yeah.         16
                                                                        Q. So if someone had had a history of drug
 17
            Q. Now, are you aware of the fact that            17
                                                                   abuse, is that the reason why they would not receive
 18
      Aguigui was paying off one of his supervising           18
                                                                   a TS security clearance?
 19
      sergeants in order to get out of being reported for     19
                                                                       A. No. I'm not a issuing official, so I
 20
      missing duty on a regular basis?                        20
                                                                   couldn't tell you specifically. But I'm sure that
 21
                 MS. JOHNSON: Objection; assumes              21
                                                                   they would kind of look into it and go deep into
 22
      facts not in evidence.                                  22
                                                                   their background before they issue somebody a TS.
 23
           A. Oh. So no.                                      23
                                                                        Q. So who is in charge of deciding whether to
 24
            Q. (BY MR. BROOK) So I'm just wondering, is       24
                                                                   revoke a TS security clearance?
 25
      this something that you've heard about happening?       25
                                                                       A. I'm not sure. I'm assuming that would be


                                                        99                                                                 101
  1
           A. No.                                              1
                                                                   in the military intelligence realm. I don't know.
  2
            Q. Is a soldier allowed to accept money from       2
                                                                         Q. Okay. But the people who were in the rear
  3
      a subordinate in order to not report their               3
                                                                   D for the S-2 section, they were under your command
  4
      activities?                                              4
                                                                   at one point. Correct?
  5
           A. No.                                              5
                                                                        A. Yes.
  6
            Q. Do you know the circumstances under which       6
                                                                         Q. So if someone in that section -- you know,
  7
      another soldier is allowed to receive money from --      7
                                                                   if they had to have a TS security clearance and they
  8
      or when -- let me rephrase that.                         8
                                                                   had a ton of misconduct and frequently, you know,
  9
               Do you know under what circumstances, if        9
                                                                   consorting with foreign citizens, say, who would you
 10
      any, an NCO is allowed to accept money from a soldier   10
                                                                   go to to report that based on concerns about
 11
      under his supervision?                                  11
                                                                   classified information being --
 12
           A. No. You shouldn't. No.                          12
                                                                        A. Right. I mean, that would likely be to,
 13
            Q. What if he was being reimbursed for            13
                                                                   like, the brigade level or division level, like S-2
 14
      something, like money that he had loaned the soldier?   14
                                                                   personnel, stuff like that.
 15
      Would that be okay?                                     15
                                                                         Q. Do you know whether the brigade or
 16
           A. I'm not sure on that one really. That's         16
                                                                   division-level personnel were ever involved in
 17
      kind of like subjective, so I don't know. I can't       17
                                                                   reviewing Private Aguigui's --
 18
      really --                                               18
                                                                        A. I don't know. I don't know.
 19
            Q. Do you even know if it's okay to loan a        19
                                                                         Q. Did you ever discuss it with them?
 20
      soldier money who's under your command?                 20
                                                                        A. No.
 21
           A. No, I'm not sure on that one. No. I             21
                                                                         Q. Do you recall who up the chain of command,
 22
      don't know.                                             22
                                                                   if anyone, you discussed Private Aguigui with while
 23
            Q. Can you think of any legitimate reasons        23
                                                                   you were his commanding officer?
 24
      why an NCO would be receiving an envelope full of a     24
                                                                        A. Say again.
 25
      thousand dollars cash from a soldier he's               25
                                                                         Q. Do you recall who, if anyone, you




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                                                                                               27 (Pages 102 to 105)
                                                              102                                                                104
  1
      discussed Private Aguigui's situation with when you            1
                                                                         constantly about anarchy and how he disliked the
  2
      were his commanding officer?                                   2
                                                                         Army. SPECIALIST ROSARIO stated PRIVATE AGUIGUI
  3
          A. Well, probably be my commander. So, more                3
                                                                         spent nearly $20,000 at Temptations in October
  4
      likely, Colonel Reynolds.                                      4
                                                                         2011" -- or "October 11 and" -- "or November 11 for
  5
           Q. And would he have been the person who                  5
                                                                         himself, SPECIALIST HOLLAND, PRIVATE JENDERSECK,
  6
      approved the field grade Article 15?                           6
                                                                         SPECIALIST WATSON-SMOKES, PRIVATE ROBERTSON, and
  7
          A. No. Actually, since he was -- he was                    7
                                                                         PRIVATE BURNETT." Those are, I guess, the people for
  8
      forward, it would have been -- I don't remember his            8
                                                                         whom money was spent.
  9
      name, but another -- the rear D colonel. So I don't            9
                                                                                 Now, I got -- first, just a couple of
 10
      remember his name, no.                                        10
                                                                         questions to understand. What does the 4IBCT area
 11
           Q. So Colonel Reynolds was the rear D                    11
                                                                         mean?
 12
      colonel?                                                      12
                                                                              A. Oh, that's our brigade area.
 13
          A. No, no. He was the forward. He was the                 13
                                                                              Q. Okay. About how big an area is that?
 14
      actual squadron commander.                                    14
                                                                              A. I don't know. I can’t really explain how
 15
           Q. Okay. So for the field grade Article 15,              15
                                                                         big the area is. It's a whole -- to house the whole
 16
      you're saying it was the rear D colonel?                      16
                                                                         brigade. So, I mean, it's like one, two, three,
 17
          A. Yes.                                                   17
                                                                         four -- it's like six battalions or something like
 18
           Q. And you don't recall his name?                        18
                                                                         that. It's pretty large.
 19
          A. I don't remember his name.                             19
                                                                              Q. So about how much of Fort Stewart is the
 20
                 MR. BROOK: Give me just a second                   20
                                                                         4IBCT area?
 21
      here.                                                         21
                                                                              A. I don't know. Maybe 25 percent.
 22
                 We can go off the record here and                  22
                                                                              Q. And do you know what Temptations is?
 23
      take a break.                                                 23
                                                                              A. I think it's a strip club. I don't know.
 24
                      (Break.)                                      24
                                                                              Q. That's a fine answer. I'm not going to
 25
                 (Exhibit 9 was marked.)                            25
                                                                         press you on that one.


                                                              103                                                                105
  1
           Q. (BY MR. BROOK) Captain, I’ve shown you                 1
                                                                             A. I'm not sure.
  2
      what's been marked as Exhibit 9. I'm not asking you            2
                                                                              Q. And are any of those names of people who
  3
      to read the whole thing. This is not a document that           3
                                                                         were included in the -- the money that was being
  4
      you wrote. It's an agent's investigative report with           4
                                                                         spent on, do those rings any bells other than the
  5
      the Bates number on it APCID00057 through APCID00059.          5
                                                                         ones we talked about?
  6
              On Page 3, if you could please take a                  6
                                                                             A. Yes. I mean, I don't know Holland, but I
  7
      second and -- well, just for the sake of convenience,          7
                                                                         know Jenderseck. I think I know Watson-Smokes. I'm
  8
      I'll read it aloud, and you can read along with me.            8
                                                                         not sure who Robertson is. I know Burnett.
  9
      If I get anything wrong, note it for the record.               9
                                                                              Q. Okay. Now, does -- were you aware that --
 10
              This is drafted by Special Agent Jeremy               10
                                                                         I guess what Specialist Rosario reported to Special
 11
      Foxx. The date of the report is 8 February 2012.              11
                                                                         Agent Foxx, were you aware that this had had happened
 12
              And the second paragraph of Page 3 says,              12
                                                                         at the time?
 13
      "About 1030, 8 February 12, SA FOXX interviewed SPC,"         13
                                                                             A. No, I don't believe so.
 14
      Specialist, "David E. ROSARIO," R-O-S-A-R-I-O, last           14
                                                                              Q. To your knowledge, had anyone reported
 15
      four Social Security "2081, HHT 6-8 CAV" -- and I'm           15
                                                                         that Aguigui had been discussing openly active
 16
      going to leave out the rest of the designations here          16
                                                                         shooter situations?
 17
      just for the sake of the record -- "regarding his             17
                                                                             A. No. I mean, this is the first time I
 18
      relationship with the individuals involved.                   18
                                                                         actually heard about it.
 19
      SPECIALIST ROSARIO stated he was approached to work           19
                                                                              Q. Does it concern you that he was talking
 20
      for PRIVATE AGUIGUI'S security company when he left           20
                                                                         openly about an active shooter situation?
 21
      the Army and he declined. SPECIALIST ROSARIO stated           21
                                                                             A. Yes. It is concerning, yes.
 22
      PRIVATE AGUIGUI discussed openly how he would conduct         22
                                                                              Q. Do you believe that Specialist Rosario did
 23
      active shooter situations on Ft. Stewart and how he           23
                                                                         anything wrong by not reporting that sooner?
 24
      mapped out the sewer system in the 4IBCT area.                24
                                                                             A. I don't think he did anything wrong,
 25
      SPECIALIST ROSARIO stated PRIVATE AGUIGUI talked              25
                                                                         but -- yeah, I don't think he did anything wrong. I




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                                                                                             28 (Pages 106 to 109)
                                                              106                                                                108
  1
      mean, it's just kind of the way he interpreted it.             1
                                                                         sure he's qualified to answer that.
  2
           Q. Now, do you know whether Aguigui was under             2
                                                                             A. Yeah, I'm not sure on that one.
  3
      surveillance at any time while he was at Fort                  3
                                                                              Q. (BY MR. BROOK) You don't know the answer?
  4
      Stewart?                                                       4
                                                                             A. Yeah, I'm not sure the exact answer on
  5
           A. I'm not sure if he was. Maybe CID was.                 5
                                                                         that one, no.
  6
      I'm not sure.                                                  6
                                                                              Q. Okay. Do you ever learn about a soldier's
  7
           Q. Is that something where you would be                   7
                                                                         misconduct from CID?
  8
      involved in the discussion about whether to surveil a          8
                                                                             A. I mean, I guess you could say yes.
  9
      soldier?                                                       9
                                                                         Just -- you mean something like this? I mean, if you
 10
           A. I think CID would probably inform me, but             10
                                                                         receive something like this, you then know what
 11
      I don't remember if they actually did inform me on            11
                                                                         misconduct they've done if they're doing some type of
 12
      this one. But they probably did.                              12
                                                                         investigation, yeah.
 13
           Q. Okay. And do you have any opinion about               13
                                                                              Q. Now, is this something that -- you know,
 14
      whether Private Aguigui should have been under                14
                                                                         when misconduct like this, say, happens, can that be
 15
      surveillance?                                                 15
                                                                         used to speed up a chapter packet for a soldier?
 16
           A. I mean, I -- with what happened, I mean,              16
                                                                             A. I'm sure it's something that can go in the
 17
      I'm sure yes, but --                                          17
                                                                         packet. But as far as speeding it up, I'm not sure.
 18
                 MS. JOHNSON: An opinion now or                     18
                                                                         I couldn't tell you. I don't know.
 19
      then.                                                         19
                                                                              Q. Now, as a commander for rear D and if you
 20
           A. Yeah. An opinion now or then?                         20
                                                                         found out that -- you know, if you had found out at
 21
           Q. (BY MR. BROOK) Opinion now.                           21
                                                                         the time about something like this -- now, I know you
 22
           A. Opinion now, yeah, of course. I mean, he              22
                                                                         wouldn't organize surveillance because that's CID,
 23
      obviously was doing a lot of things. But back then,           23
                                                                         according to what you said. But what actions, if
 24
      I mean, you don't know that stuff.                            24
                                                                         any, would you take towards a soldier who was saying
 25
           Q. Right. Now, if you had known this                     25
                                                                         things like this to his fellow soldiers?


                                                              107                                                                109
  1
      information that -- reported by David Rosario, do you          1
                                                                             A. Well, I mean, as far as this goes, if I
  2
      think that would have been important in deciding               2
                                                                         knew this was happening, I would contact CID and let
  3
      whether Aguigui should have been under surveillance?           3
                                                                         them know what's happening. I mean, just
  4
          A. Yes, I think that would have been                       4
                                                                         realistically, that is just what I would do. Contact
  5
      important to know. And if CID was tracking him                 5
                                                                         CID or the MPs and let them know what's happening.
  6
      already, I mean, that's CID. That's their -- at that           6
                                                                                And then from there, it would just really
  7
      point, that's them. You know, they've already -- if            7
                                                                         be what they find, because I can’t just -- because
  8
      they've received that information, CID takes on                8
                                                                         these are assumptions, you know. I can’t just say,
  9
      that -- that -- that specific case.                            9
                                                                         "I'm now going to do surveillance on this guy because
 10
           Q. Now, does CID have any authority or                   10
                                                                         of what an assumption or a perception is," you know.
 11
      influence in terms of what a soldier's duties or              11
                                                                              Q. Now, are you required to wait for CID to
 12
      responsibilities are?                                         12
                                                                         do something with that before you can take any
 13
          A. Command authority? No, they don't have                 13
                                                                         action?
 14
      command authority, but they -- they have the ability          14
                                                                             A. I can't take action if I don't know if
 15
      to -- to investigate things like this.                        15
                                                                         it's true or not.
 16
           Q. Okay. So -- but, you know, say their                  16
                                                                              Q. Okay. So you would need to have CID say
 17
      investigation is ongoing in some respects, but in the         17
                                                                         whether or not Rosario and what he was claiming
 18
      course of their investigation into one very serious           18
                                                                         Aguigui said was true?
 19
      thing, like murder, they've learned a litany of other         19
                                                                             A. Right.
 20
      misconduct. Is that something where they would have           20
                                                                              Q. Would you be able to take any action just,
 21
      to report that to command for them to be able to act          21
                                                                         you know, nonpunitive to try to, you know, separate
 22
      on the other misconduct and not have to sit around            22
                                                                         the soldier from the other soldiers and prevent
 23
      and wait for them to figure out the much harder               23
                                                                         something like this from going on in case it was
 24
      question about a murder?                                      24
                                                                         going on?
 25
                 MS. JOHNSON: Objection. I'm not                    25
                                                                             A. I mean, I can’t do anything if I don't




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                                                                                           29 (Pages 110 to 113)
                                                             110                                                                112
  1
      know it's true or not.                                        1
                                                                        that this happened, that you heard from other
  2
              Q. Okay. So just mere allegations from other          2
                                                                        soldiers and you’ve concluded that, yes, these
  3
      soldiers, you couldn't do anything on that?                   3
                                                                        actions occurred. Are you able to take action on
  4
          A. Right. If it's just an allegation, then                4
                                                                        that just because CID decided not to do so?
  5
      there's really nothing I could do there.                      5
                                                                             A. If I don't know if it's true or not, I
  6
              Q. Okay.                                              6
                                                                        can’t get -- I can’t do any kind of -- anything to
  7
                   MR. BROOK: I think that about                    7
                                                                        that soldier if I don't think it happened or if I
  8
      wraps up here. Let me just go over my notes real              8
                                                                        just assume or think it's a perception or something
  9
      quick.                                                        9
                                                                        like that. I can't just take action on something
 10
              Q. (BY MR. BROOK) Were you aware of whether          10
                                                                        that's not deemed true.
 11
      Private Aguigui had a protective order against him by        11
                                                                             Q. So -- but you agree that people could
 12
      his wife?                                                    12
                                                                        disagree about what's true or not in terms of
 13
          A. I don't remember. Yeah, I don't remember.             13
                                                                        investigating a situation?
 14
              Q. Is --                                             14
                                                                             A. No. I mean, if it's facts, it's facts.
 15
          A. I'm -- I feel like there probably was, but            15
                                                                        There's facts or not facts. There's perception;
 16
      I don't remember specifically, no.                           16
                                                                        there's facts.
 17
              Q. Okay. I'm not going to waste time with            17
                                                                             Q. So, in your opinion, you -- if CID made a
 18
      you looking at it now, but is it something that's            18
                                                                        conclusion not to prosecute someone, that would mean
 19
      typically brought to the commander's attention when          19
                                                                        that you can't do anything with it as commander
 20
      there's a protective order put in place with respect         20
                                                                        through the chain of command?
 21
      to one of the soldiers under his command?                    21
                                                                             A. Right, because they had no facts.
 22
          A. Yes. Yeah.                                            22
                                                                             Q. So your understanding is that they would
 23
              Q. And what happens if a soldier under your          23
                                                                        have no facts to support their position if CID turned
 24
      command violates a protective order?                         24
                                                                        down a case?
 25
          A. Well, I mean, he could get some type of               25
                                                                             A. I mean, if they can't find anything true,


                                                             111                                                                113
  1
      UCMJ actions for it.                                          1
                                                                        I mean, what -- there's nothing you can do there, you
  2
           Q. Okay. Is that something where you would               2
                                                                        know.
  3
      take action?                                                  3
                                                                             Q. Now, is this --
  4
          A. It all depends. I mean, I would consult                4
                                                                            A. I'm not going to say -- I'm not going to
  5
      my legal advisors and see what we could do.                   5
                                                                        do something to a soldier because I think they did
  6
           Q. Let me ask you a question. Again, I'm                 6
                                                                        this. It has to be a fact. There has to be
  7
      just trying to understand.                                    7
                                                                        something that says that this happened.
  8
                So what if -- you know, the situation with          8
                                                                             Q. Right. So two different investigators
  9
      CID, they investigate something and they say that,            9
                                                                        could come to different conclusions, though. Right?
 10
      you know, they can't prove that it's true. Do you            10
                                                                                    MS. JOHNSON: Let me object,
 11
      know what their burden of proof is in order to take          11
                                                                        because he's not qualified to testify about CID
 12
      action?                                                      12
                                                                        investigations.
 13
          A. No. I don't know.                                     13
                                                                             Q. (BY MR. BROOK) What I'm trying to
 14
           Q. Is it beyond a reasonable doubt?                     14
                                                                        understand, Captain, just -- did you receive any sort
 15
          A. Like -- I don't know. I mean, I would                 15
                                                                        of training or supervision about what to do with a
 16
      assume they would have to have, like, straight facts.        16
                                                                        soldier regarding, you know, sort of non-court
 17
           Q. Now, as a commander making decisions on,             17
                                                                        marshal-type procedures if CID has investigated an
 18
      say, nonjudicial punishment, do you have to have             18
                                                                        incident but they have declined to prosecute an
 19
      proof beyond a reasonable doubt that the actions             19
                                                                        incident?
 20
      occurred?                                                    20
                                                                            A. I'm not sure if I'm fully understanding
 21
          A. I mean, it has to be an informed decision.            21
                                                                        your question.
 22
      I have to know. I can't just say, "I'm going to              22
                                                                             Q. Did you receive -- so what I'm saying is,
 23
      punish you because I think you did this." I can’t do         23
                                                                        under the situation where CID has investigated
 24
      that.                                                        24
                                                                        potential criminal activity and has declined to
 25
           Q. But what if you, in your heart, believed             25
                                                                        prosecute it, does that mean -- or forget what that




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                                                                                               30 (Pages 114 to 117)
                                                              114                                                                116
  1
      means. What I'm asking is, under that situation,               1
                                                                                  ACKNOWLEDGMENT OF DEPONENT
  2
      were you given any sort of instruction or guidance at          2

  3
      any point in time in your career about what you as a           3
                                                                                I, _______________________, do hereby
  4
      commanding officer could do with respect to providing          4
                                                                         acknowledge that I have read and examined the
  5
      nonjudicial punishment or other sorts of measures              5
                                                                         foregoing testimony, and the same is a true, correct
  6
      towards the soldier?                                           6
                                                                         and complete transcription of the testimony given by
  7
          A. I mean, a lot of it is all situation                    7
                                                                         me, and any corrections appear on the attached Errata
  8
      dependent. It really is. It's all situation                    8
                                                                         Sheet signed by me.
  9
      dependent. And then from there, what happens to a              9

 10
      soldier because of what -- what they did or they              10

 11
      didn't do, I have to go on facts. I can’t go off of           11
                                                                         ____________      ___________________________________
 12
      assumptions or anything like that. It has to be --            12
                                                                           (DATE)              ZONIE DANIELS IV
 13
      it has to be facts for me to process something.               13

 14
           Q. So what if -- under this situation? Say               14

 15
      you find out that a soldier, you know, has accused            15

 16
      Aguigui of going around the barracks and threatening          16

 17
      to kill lots of people, and you've reported it to             17

 18
      CID, but you're hearing reports that it's continuing          18

 19
      to occur and CID is not taking action on it, and you          19

 20
      feel that's a problem, because you believe that it's          20

 21
      really happening. Are you able to take action                 21

 22
      against the soldier, or do you have to wait for CID?          22

 23
                MS. JOHNSON: Objection --                           23

 24
          A. Yeah, I'm not sure.                                    24

 25
                MS. JOHNSON: Objection; calls for                   25




                                                              115                                                                117
  1
      speculation.                                                   1
                                                                                 IN THE UNITED STATES DISTRICT COURT
  2
            Q. (BY MR. BROOK) I'm asking for your                    2
                                                                                   WESTERN DISTRICT OF WASHINGTON
  3
      understanding based upon the training that you've              3
                                                                                         AT SEATTLE
  4
      received and your understanding of your command                4
                                                                         TRACY JAHR, BRENDA         §
  5
      authority. Do you have to wait for CID to finish its           5
                                                                         THOMAS, TIMOTHY LEE YORK, §
  6
      investigation even if you think CID is taking way too          6
                                                                         AND W. BRETT ROARK,         §
  7
      long and you believe that the Army in your command is          7
                                                                                           § CIVIL ACTION
  8
      being put at risk as a result?                                 8
                                                                             Plaintiffs,     § NO. 2:14-cv-01884-MJP
  9
                 MS. JOHNSON: Same objection.                        9
                                                                                           §
 10
            Q. (BY MR. BROOK) Please answer.                        10
                                                                         VS.                §
 11
           A. Yeah, I would definitely just -- I'm not              11
                                                                                           §
 12
      sure, but, again, I would -- like, legal. I would             12
                                                                         UNITED STATES OF AMERICA, §
 13
      talk to my legal advisors, talk to CID, stuff like            13
                                                                                           §
 14
      that. So that's really the steps I would take.                14
                                                                             Defendant.        §
 15
            Q. But you have not been confronted with that           15
 16
      situation because you didn't get the information of           16
                                                                                     REPORTER'S CERTIFICATION
 17
      this incident?                                                17
                                                                                    DEPOSITION OF ZONIE DANIELS IV
 18
           A. Right. Right.                                         18
                                                                                      TAKEN JANUARY 28, 2016
 19
                 MR. BROOK: I think I’ve got no                     19
 20
      further questions, then.                                      20
                                                                             I, Tamara Chapman, Certified Shorthand Reporter
 21
                 MS. JOHNSON: I’ve got nothing.                     21
                                                                            in and for the State of Texas, hereby certify to
 22
                 (THE DEPOSITION CONCLUDED AT 4:07                  22
                                                                            the following:
 23
      P.M.)                                                         23
                                                                             That the witness, ZONIE DANIELS IV, was duly
 24                                                                 24
                                                                            sworn by the officer and that the transcript of
 25                                                                 25
                                                                            the oral deposition is a true record of the



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                                                            31 (Pages 118 to 119)
                                                     118
  1
      testimony given by the witness;
  2
       That the original deposition was delivered to
  3
      Mr. Brian C. Brook;
  4
       That a copy of this certificate was served on
  5
      all parties and/or the witness shown herein on
  6
      __________________________.
  7
       I further certify that pursuant to FRCP
  8
      No. 30(f)(i) that the signature of the deponent:
  9
       _X___ was requested by the deponent or a party
 10
      before the completion of the deposition and that
 11
      the signature is to be returned within 30 days
 12
      from date of receipt of the transcript. If
 13
      returned, the attached Changes and Signature Page
 14
      contains any changes and the reasons therefor;
 15
       ____ was not requested by the deponent or a
 16
      party before the completion of the deposition.
 17
       I further certify that I am neither counsel
 18
      for, related to, nor employed by any of the
 19
      parties in the action in which this proceeding
 20
      was taken, and further that I am not financially
 21
      or otherwise interested in the outcome of the
 22
      action.
 23
       Certified to by me this 18th day of February, 2016
 24

 25




                                                     119
  1
               ______________________________________
  2
               Tamara Chapman, CSR, RPR
  3
               Texas CSR# 7248 (Exp. 12/31/16)
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